Case 1:24-cv-00496-JAO-WRP   Document 35-2   Filed 12/23/24   Page 1 of 77
                              PageID.324




      EXHIBIT 1
 Case 1:24-cv-00496-JAO-WRP    Document 35-2   Filed 12/23/24   Page 2 of 77
                                PageID.325


                   IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII


ELIJAH PINALES, et al.,                :   Civil No. 24-00496 JAO-WRP
                                       :
     Plaintiffs,                       :
                                       :   DECLARATION OF SAUL
            v.                         :   CORNELL
                                       :
ANNE E. LOPEZ, IN HER OFFICIAL         :
CAPACITY AS THE ATTORNEY               :
GENERAL OF THE STATE OF                :
HAWAI‘I,                               :
                                       :
     Defendant.                        :
                                       :
                                       :


                    DECLARATION OF SAUL CORNELL
    Case 1:24-cv-00496-JAO-WRP     Document 35-2     Filed 12/23/24   Page 3 of 77
                                    PageID.326


             DECLARATION OF PROFESSOR SAUL CORNELL
                  BACKGROUND AND QUALIFICATIONS
       1.    I am the Paul and Diane Guenther Chair in American History at

Fordham University in New York City. I have a master’s degree and a Ph.D. in

History, both from the University of Pennsylvania. In addition to teaching

constitutional history at Fordham College, I teach seminars in constitutional law at

Fordham Law School. I have been a Senior Visiting Research Scholar on the

faculty of Yale Law School, the University of Connecticut Law School, and

Benjamin Cardozo Law School. Prior to my time at Fordham University, I was a

Professor of History at The Ohio State University, the Thomas Jefferson Chair at

the University of Leiden in the Netherlands, and an Assistant Professor in the

Departments of History at The Ohio State University and the College of William &

Mary. A copy of my complete curriculum vitae (CV) is attached to this report as

Exhibit A.

       2.    My scholarship on the Second Amendment and the history of firearms

regulation has been widely cited by state and federal courts, including the U.S.

Supreme Court. 1 I have published two dozen articles on this topic that have

appeared in leading law reviews and top peer-reviewed legal history journals. 2 I


1
 For a complete list of court citations, see my CV attached as Exhibit A.
2
 Particularly relevant publications include Saul Cornell, History, Text, Tradition,
and the Future of Second Amendment Jurisprudence: Limits on Armed Travel
under Anglo-American Law, 1688–1868, 83 LAW & CONTEMP. PROBS. 73 (2020);
                                                                      (continued…)


                                         1
  Case 1:24-cv-00496-JAO-WRP        Document 35-2     Filed 12/23/24   Page 4 of 77
                                     PageID.327


authored the chapter on the right to bear arms in the Oxford Handbook of the U.S.

Constitution and co-authored the chapter in The Cambridge History of Law in

America on the Founding Era and the Marshall Court, the period that includes the

adoption of the Constitution and the Second Amendment. 3 I am currently ranked

91st in the list of the top 100 hundred legal scholars on Hein-on-line’s scholar

index, a metric that includes both scholarly citations and court citations.

      3.     I have given numerous invited lectures, presented papers at faculty

workshops, and participated in conferences on the Second Amendment and the

history of firearms regulation at Yale Law School, Harvard Law School, Stanford

Law School, UCLA Law School, the University of Pennsylvania Law School,

Columbia Law School, Duke Law School, Pembroke College Oxford, Robinson

College, Cambridge, Leiden University, and McGill University.

      4.     I have also provided expert witness testimony in both state and federal

courts in a number of firearms-related matters.




Saul Cornell & Nathan DeDino, A Well Regulated Right: The Early American
Origins of Gun Control, 73 FORDHAM L. REV. 487 (2004). A full list of relevant
publications is also included in my CV.
3
  Saul Cornell, The Right to Bear Arms, in THE OXFORD HANDBOOK OF THE U.S.
CONSTITUTION 739–759 (Mark Tushnet, Sanford Levinson & Mark Graber eds.,
2015); Saul Cornell & Gerald Leonard, Chapter 15: The Consolidation of the Early
Federal System, in 1 THE CAMBRIDGE HISTORY OF LAW IN AMERICA 518–544
(Christopher Tomlins & Michael Grossberg eds., 2008).



                                          2
    Case 1:24-cv-00496-JAO-WRP     Document 35-2     Filed 12/23/24   Page 5 of 77
                                    PageID.328


       5.    A list of my publications is also included in the CV I attach as Exhibit

A to this report.

       6.    I am being compensated for services performed in the above-entitled

case at an hourly rate of $750 for reviewing materials, participating in meetings,

and preparing reports, and $1000 for depositions and court appearances. I am also

compensated for travel expenses. My compensation is not in any way dependent on

the outcome of this or any related proceeding, or on the substance of my opinion.

                        SUMMARY OF CONCLUSIONS

       7.    The State of Hawaii has asked me to provide an expert opinion on the

history of firearms regulation in the Anglo-American legal tradition, with a

particular emphasis on the regulation of sales of and access to firearms of those

below the age of twenty-one, including those old enough to participate in the

militias. In the body of my report below, I provide evidence and reasoning for the

following opinions:

       8.     The term “young adult” and phrase “adults younger than 21” are

legal oxymorons for the Founding era and post-Civil War period. There was no

legal category of “young adult” or “adult younger than 21” in the Founding era. 4



4
   On the emergence of the category of young adult in contemporary legal theory,
see Elizabeth S. Scott, Richard J. Bonnie, & Laurence Steinberg, Young Adulthood
as a Transitional Legal Category: Science, Social Change, and Justice Policy, 85
FORDHAM L. REV. 641 (2016).



                                          3
    Case 1:24-cv-00496-JAO-WRP         Document 35-2      Filed 12/23/24   Page 6 of 77
                                        PageID.329


          9.    Nor did The legal category of a rights bearing “young adult” at the

time of the Fourteenth Amendment and has only slowly entered American law in

the last century. The idea of a “young adult” is a very recent development in

American society and law. American law has always, and continues to this day to

recognize, the limited capacities of minors to act with the requisite discretion of

fully developed adults. 5

          10.   In their briefing, plaintiffs assert an uncontroversial fact about the

history of the militia in the eighteenth century and much of the nineteenth century:

governments compelled some minors to serve in the militia and participate in

related community-based forms of law enforcement. But the fact that government

forced individuals to participate in the militia does not demonstrate the existence of

a constitutional right to keep, bear, or acquire firearms for those under the age of

21. Rather, this fact shows that governments have imposed a constitutional duty

and obligation upon generations of Americans, including some minors, to

contribute to public defense.

          11.   Imposing a legal obligation on individuals does not establish that a

right existed; here it demonstrates that the opposite was the case. Failure to comply

with this legal obligation resulted in punishment. Militia laws gave government

broad power over minors. They did not confer an individual rights claim that


5
    Id.



                                              4
    Case 1:24-cv-00496-JAO-WRP      Document 35-2      Filed 12/23/24   Page 7 of 77
                                     PageID.330


minors might make against government regulation. In the Anglo-American legal

tradition, rights are the correlatives of duties, not synonyms.

       12.     Across the broad arc of American history, from the Founding era and

through the modern day, governments have regulated firearms. The scope of such

police power regulations was greatest when the health and safety of minors was at

issue. Regulations limiting firearms ownership and possession for those under the

age of 21 are longstanding and firmly rooted in the American historical and legal

tradition. The law has never considered minors fully independent legal actors who

possessed the same rights as adults. 6

             MATERIALS REVIEWED AND METHODOLOGIES USED

       13.    My evaluation of these legal historical materials draws on the most

recent scholarship on the Second Amendment and the right to bear arms, as well as

the existing case law, including New York State Rifle & Pistol Association v. Bruen

and United States v. Rahimi.         I employ the accepted historical and legal

methodologies for interpreting legal sources from the Founding era and later periods

of American history, including the era of the Fourteenth Amendment’s adoption and

implementation. This declaration analyzes the public meaning of the Second

Amendment, the Fourteenth Amendment, the various state constitutional provisions


6
  Saul Cornell, “Infants” and Arms Bearing in the Era of the Second Amendment:
Making Sense of the Historical Record, YALE L. & POL’Y REV.: INTER ALIA, at pt.
II (Oct. 26, 2021)



                                           5
    Case 1:24-cv-00496-JAO-WRP      Document 35-2     Filed 12/23/24   Page 8 of 77
                                     PageID.331


on the right to keep and bear arms, state statutes, local ordinances, court decisions,

and popular and learned legal commentaries. 7 The goal of surveying such a wide

range of sources is to ascertain the various public understandings of how these

different legal and constitutional texts were interpreted when the Bill of Rights was

ratified, when individual laws and ordinances were enacted, and when the

Fourteenth Amendment was adopted and interpreted by courts. 8

       14.   Historical inquiries by courts must be supplemented by careful

examination of the relevant historical scholarship and evidence if they are to avoid

the dangers of “law office history.” 9 Modern legal history—the methodology I use

in this report—approaches the past with a more holistic model of meaning,

recognizing that legal meanings, including those relevant to understanding the

history of the Second Amendment, the various state constitutional arms-bearing

provisions, and gun regulation, must be rigorously contextualized. 10 This approach

requires analyzing more than statutes and cases to understand the social, cultural,

and intellectual contexts that shaped the law. Any effort to understand the Second



7
  Zachary Schrag, THE PRINCETON GUIDE TO HISTORICAL
RESEARCH (2021).
8
  J.H. HEXTER, REAPPRAISALS IN HISTORY 194–45 (1961).
9
  Alfred H. Kelly, Clio and the Court: An Illicit Love Affair, 1965 SUP. CT. REV.
119, 122 n.13 (1965).
10
   The best illustration of this method is the three volume Cambridge History of
Law in America. See THE CAMBRIDGE HISTORY OF LAW IN AMERICA (Michael
Grossberg & Christopher L. Tomlins eds., 2008).



                                          6
     Case 1:24-cv-00496-JAO-WRP      Document 35-2     Filed 12/23/24   Page 9 of 77
                                      PageID.332


Amendment and the history of gun regulation must canvass a variety of historical

topics, including such diverse and distinctive sub-fields as legal history, social

history, cultural history, economic history, and military history. 11

        15.   In District of Columbia v. Heller, the Supreme Court directed courts

and litigants to look to history in evaluating the scope of permissible regulation

under the Second Amendment. 12 At the time Heller was decided, there was relatively

little scholarship on the history of gun regulation, but in the years since the decision

was published, a burgeoning body of scholarship has uncovered a previously

unknown and little studied history of arms regulation in the Anglo-American legal

tradition. 13 My report draws on this important body of new scholarship and the

breadth of digital sources now available to scholars in order to understand and

contextualize the rights implicated—and not implicated—in this case.

        16.   Heller did not undertake the arduous and laborious task of doing the

historical research necessary to understand the full scope of the legal tradition of



11
   Id.
12
   Dist. of Columbia v. Heller, 554 U.S. 570 (2008); Eric M. Ruben & Darrell A.
H. Miller, Preface: The Second Generation of Second Amendment Law & Policy,
80 LAW & CONTEMP. PROBS. 1 (2017).
13
   Cornell & DeDino, supra note 2; Robert J. Spitzer, Gun Law History in the
United States and Second Amendment Rights, 80 LAW & CONTEMP. PROBS. 55
(2017). For an effort to synthesize the new scholarship on regulation and apply it
using Heller’s framework, see JOSEPH BLOCHER & DARRELL A. H. MILLER, THE
POSITIVE SECOND AMENDMENT: RIGHTS, REGULATION, AND THE FUTURE OF
HELLER (2018).



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     Case 1:24-cv-00496-JAO-WRP      Document 35-2      Filed 12/23/24   Page 10 of 77
                                      PageID.333


arms regulation. Rather, it left this project to lower courts and future scholars. Justice

Scalia’s characterization of the limits of Heller’s foray into history in the majority

opinion is instructive in this regard:

         Although we do not undertake an exhaustive historical analysis today
         of the full scope of the Second Amendment, nothing in our opinion
         should be taken to cast doubt on longstanding prohibitions on the
         possession of firearms by felons and the mentally ill, or laws
         forbidding the carrying of firearms in sensitive places such as schools
         and government buildings, or laws imposing conditions and
         qualifications on the commercial sale of arms. 14

         Moreover, in Heller, Justice Scalia’s majority opinion noted that
“constitutional rights are enshrined with the scope they were thought to have when
the people adopted them.” 15 Heller also made clear that the right to keep and bear
arms was not absolute:

         Like most rights, the right secured by the Second Amendment is not
         unlimited. From Blackstone through the nineteenth-century cases,
         commentators and courts routinely explained that the right was not a
         right to keep and carry any weapon whatsoever in any manner
         whatsoever and for whatever purpose. 16

         17.   Heller identified an illustrative set of examples of “presumptively

lawful regulations.” 17 This list was not exhaustive, but only a sketch of the many

ways guns and gunpowder have been regulated by government, a legacy that is

deeply anchored in text, history, and tradition. 18 Thus, Heller directed courts to look

14
   Heller, 554 U.S. at 626–27.
15
   Id. at 684.
16
   Id. at 626.
17
   Id. at 627 n.26.
18
   Id. at 626.



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     Case 1:24-cv-00496-JAO-WRP     Document 35-2     Filed 12/23/24   Page 11 of 77
                                     PageID.334


at the Founding era, antebellum America, and Reconstruction when examining the

scope of the right. 19


                 THE LEGAL STATUS OF INFANTS UNDER
                 THE COMMON LAW: THE FOUNDING ERA

         18.   The first step in evaluating the status of Second Amendment rights for

those aged 18–20 and other minors in the Founding era is to consider the common

law treatment of the legal capacities and rights of persons under the age of legal

majority at that time. Persons aged 18–20 were considered “infants” or “minors”

under the law in the Founding era. 20 This legal fact did not change until the latter

half of the twentieth century. 21 Across this broad swath of American legal history,

minors’ status has been significantly constrained under law and would not have

included the ability to assert a legal claim in any court that would vindicate a Second

Amendment right or a similar claim under an analogous state constitutional

provision. Therefore, treating infants as autonomous legal actors capable of having


19
   On the notion of constitutional modalities, and the relevance of the categories of
history, text, and tradition, see P. BOBBITT, CONSTITUTIONAL
INTERPRETATION (1991). Of course, other scholars may have different terminology
for these modes of analysis, but these jurisprudential categories largely overlap
these six forms. E.g., Richard H. Fallon, Jr., A Constructivist Coherence Theory of
Constitutional Interpretation, 100 HARV. L. REV. 1189 (1987); Robert
Post, Theories of Constitutional Interpretation, in LAW AND THE ORDER OF
CULTURE 13–41 (R. Post ed., 1991).
20
   ZEPHANIAH SWIFT, 1 A SYSTEM OF THE LAWS OF THE STATE OF CONNECTICUT
213 (1795).
21
   Hamilton, supra note 5 at 57-8.



                                           9
     Case 1:24-cv-00496-JAO-WRP     Document 35-2    Filed 12/23/24   Page 12 of 77
                                     PageID.335


the right to keep, bear, and acquire arms is profoundly anachronistic and ignores the

common law context in which the Second Amendment and similar state

constitutional provisions were enacted in the eighteenth and early nineteenth

centuries. 22

         19.    Under English common law, individuals under the legal age of

majority, twenty-one, were entirely subsumed under the authority of their parents

(usually their fathers) or guardians. The power of fathers or guardians under this

system of patriarchy exceeded the power of the monarch over his subjects. 23 Parents

and other legal guardians had the legal authority to correct those in their charge,

including through corporal punishment. There was no recourse to legal redress for

such minors against their parents or guardians (provided the punishment was deemed

necessary and not excessively cruel). 24

         20.    In many respects, the situation of minors under 21 resembled that of

married women under coverture. Under the doctrine of coverture, a married woman

ceased to exist as a legal entity and her entire legal persona was subsumed within




22
    J.H.Baker, AN INTRODUCTION TO ENGLISH LEGAL HISTORY 483–84
(4th ed. 2002).
23
   Id.
24
   John E.B. Myers, A Short History of Child Protection in America, 42 FAM. L.Q.
449 (2008); ELIZABETH PLECK, DOMESTIC TYRANNY: THE MAKING OF AMERICAN
SOCIAL POLICY AGAINST FAMILY VIOLENCE FROM COLONIAL TIMES TO THE
PRESENT (1987).



                                           10
     Case 1:24-cv-00496-JAO-WRP      Document 35-2     Filed 12/23/24   Page 13 of 77
                                      PageID.336


her husband’s authority. 25 Sir William Blackstone described the legal meaning of

coverture as follows:

         By marriage, the husband and wife are one person in law: that is, the
         very being or legal existence of the woman is suspended during the
         marriage, or at least is incorporated and consolidated into that of the
         husband: under whose wing, protection, and cover, she performs
         every thing; and is therefore called in our law-French a feme-covert. 26

         21.   Indeed, an influential eighteenth-century English treatise on the law of

domestic relations noted that the comparison between a femme covert and minors

was frequently made by writers on the law: “Feme Covert in our Books is often

compared to an Infant, both being persons being disabled in the Law.” 27 Given that

minors were legally “disabled” in the eyes of the law, the claim that they might assert

a Second Amendment right against government interference is erroneous.

         22.   The American Revolution set in motion a process of change that

republicanized the rights of minors by giving society, acting through courts and

legislatures, greater authority to intervene to protect and promote the well-being of

those under the age of majority. 28 This change did not endow minors with full legal


25
   Allison Anna Tait, The Beginning of the End of Coverture: A Reappraisal of the
Married Woman’s Separate Estate, 26 YALE JOURNAL OF LAW AND
FEMINISM 165, 167 (2014).
26
   1 William Blackstone, COMMENTARIES *442.
27
   Anon., BARON AND FEME: A TREATISE OF LAW AND EQUITY
CONCERNING HUSBANDS AND WIVES 8 (1738).
28
   Jeffrey Shulman, THE CONSTITUTIONAL PARENT: RIGHTS,
RESPONSIBILITIES, AND THE ENFRANCHISEMENT OF THE CHILD
(2014).



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     Case 1:24-cv-00496-JAO-WRP     Document 35-2     Filed 12/23/24   Page 14 of 77
                                     PageID.337


rights under the law, but it did diminish the near absolute power that fathers (or

parents more generally) and guardians had over minors living under their authority.

         23.   The subject of minors’ legal status was explored at considerable length

by Zephaniah Swift, an esteemed Connecticut jurist in the Founding era, and author

of one of the first legal treatises published after the adoption of the Second

Amendment: “Persons within the age of twenty-one, are, in the language of the law

denominated infants, but in common speech—minors.” Swift noted: “by common

law an infant can bind himself by his contract for necessaries, for diet, apparel,

education and lodging,” but little else. 29 During the decades after the American

Revolution, courts became more involved in monitoring contractual arrangements

involving minors and adopted a more aggressive role in protecting the interests of

minors, even if it meant voiding contracts. This new supervisory role narrowed the

range of contractual freedom of minors acting without consent. Thus, minors were

subject to far greater state supervision than any other legal entity involved in the

marketplace during the early years of the republic. 30

         24.   It is impossible to understand the legal conception of “infant” without

recognizing the patriarchal nature of English common law and its early American


29
   SWIFT, 1 A SYSTEM OF THE LAWS OF THE STATE OF CONNECTICUT, 213.
Necessities would not have included arms, but was understood to include food,
clothing, educational costs if appropriate and little else.
30
   HOLLY BREWER, BY BIRTH OR CONSENT: CHILDREN, LAW, AND THE ANGLO-
AMERICAN REVOLUTION IN AUTHORITY (2012).



                                          12
     Case 1:24-cv-00496-JAO-WRP      Document 35-2     Filed 12/23/24   Page 15 of 77
                                      PageID.338


variants. 31 Johns Hopkins historian Toby Ditz summarizes the centrality of the legal

concept of patriarchy to family law and governance in the Founding Era:

         Historians have begun to use the concept “household patriarchy” to describe
         community organization in eighteenth century America. Household
         patriarchy refers to both internal and external aspects of domestic
         organization. It describes authority relations in which heads, and not others
         within households, have the formal right to make final decisions about internal
         matters. Patriarchal household heads speak for their dependents in dealings
         with the larger world. The civic status of household dependents is an indirect
         or secondary one; the community reaches them primarily through the actions
         and            voices           of            the           heads.           32



         25.   Individuals below the age of legal majority served in the militia and

participated in community-based efforts to keep the peace (such as the “hue and

cry”), but these public safety duties were undertaken in a supervised setting under

color of law. 33 Further, the circumstances under which an infant could participate in

community forms of keeping the peace were defined by the patriarchal structure of



31
   The absorption of the common law in America and the development of different
variants of common law in the colonies and states has generated a rich scholarly
literature, for a useful overview, see Lauren Benton & Kathryn Walker, Law for
the Empire: The Common Law in Colonial America and the Problem of Legal
Diversity, 89 CHI.-KENT L. REV. 937 (2014).
32
   Toby L. Ditz, Ownership and Obligation: Inheritance and Patriarchal
Households in Connecticut, 1750-1820, 47 WILLIAM & MARY Q. 235, 236 (1990).
33
   The Statute of Winchester, adopted in 1284 in the Reign of Edward I, required
male members of the community between 15 and 40 to join the “hue” and “cry”
and participate in community law enforcement, see 1 STATUTES OF THE REALM 26
(1235-1377). Until the rise of modern police forces in the middle of the nineteenth
century, community-based law enforcement, including the “hue” and “cry” were
the only means to deal with most forms of ordinary crime. See LAWRENCE M.
FRIEDMAN, CRIME AND PUNISHMENT IN AMERICAN HISTORY (1996).



                                           13
     Case 1:24-cv-00496-JAO-WRP     Document 35-2     Filed 12/23/24   Page 16 of 77
                                     PageID.339


local communities and the peacekeeping mechanism instantiated by law. As

Princeton historian Laura Edwards notes:

         The social order of the peace was profoundly patriarchal. The concept was
         based in a long-standing, highly gendered construction of government
         authority, which subordinated everyone to a sovereign body, just as all
         individual dependents were subordinated to specific male heads of
         household. 34

Thus, participation in law keeping does not vindicate the type of right claimed by

plaintiffs. It only underscores that minors carried weapons in public only when

sanctioned by law or when under the supervision of adults.


               THE PERSISTENCE OF COMMON LAW RESTRICTIONS
                   ON MINORS IN THE NINETEENTH CENTURY

         26.   The common law restrictions and disabilities on minors did not erode

after the Founding era but remained a fixture in American law for the next century.

The influential early nineteenth century legal author and jurist James Kent discussed

the legal status of minors in 1836 in his influential Commentaries on American law:

“The necessity of guardians results from the inability of infants to take care of

themselves; and this inability continues, in contemplation of law, until the infant has

attained the age of twenty-one years.” 35 When some radical Jacksonian Democrats

suggested that the age of majority for voting ought to be lowered for those who had


34
   Laura F. Edwards, The Peace: The Meaning and Production of Law in the Post-
Revolutionary United States, 1 UC IRVINE L. REV. 565, 570 (2011).
35
   James Kent, 2 COMMENTARIES ON AMERICAN LAW 259 (3d ed., 1836).



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     Case 1:24-cv-00496-JAO-WRP       Document 35-2         Filed 12/23/24   Page 17 of 77
                                       PageID.340


served in the militia, leading Federalists in the New York state constitutional

convention mocked them. Federalist Elisha Williams, a delegate from Columbia

County, wondered if his Democratic opponents wished to enfranchise “brave

infants” by giving them the right to vote. 36 Extending full rights to minors was

literally treated as a joke by Federalists sitting in the state constitutional convention.

         27.   John Bouvier, author of the first American law dictionary, shared Swift

and Kent’s views, and his 1858 explanation of the legal significance of the age of

majority followed their lead: “The rule that a man attains his majority at age twenty-

one years accomplished, is perhaps universal in the United States. At this period,

every man is in the full enjoyment of his civil and political rights.” 37 Bouvier’s

statement captures the widespread view of early American legal commentators that

minors were not recognized as independent legal actors who enjoyed the full panoply

of rights under American law. Every commentator on the law between the adoption

of the Second Amendment and the Civil war echoed the belief that infants did not

enjoy the full civil and political rights of citizens. 38

         28.   The adoption of the Fourteenth Amendment did not alter the legal status

of minors. The American and English Encyclopedia of Law, a standard reference



36
   CORINNE T. FIELD, THE STRUGGLE FOR EQUAL ADULTHOOD: GENDER, RACE,
AGE, AND THE FIGHT FOR CITIZENSHIP IN ANTEBELLUM AMERICA (2014) at 58.
37
   JOHN BOUVIER, 1 INSTITUTES OF AMERICAN LAW 148 (1858).
38
   Field, supra note 36.



                                             15
     Case 1:24-cv-00496-JAO-WRP    Document 35-2     Filed 12/23/24   Page 18 of 77
                                    PageID.341


work consulted by lawyers and judges written at the end of the nineteenth century,

included a long discussion of the legal status of minors that reiterated the views

expressed by Story, Kent, and Bouvier. 39

         29.   Lewis Hochheimer, one of the leading authorities on domestic law and

a respected commentator on legal matters during the era of the Fourteenth

Amendment, echoed these views, expressly noting that state police power authority

was at its zenith when the health and welfare of minors was at issue.40 The police

power framework that antebellum jurists had developed to address issues about

weapons regulation persisted. 41 Hochheimer singled out “[s]pecific regulations and


39
   16 THE AMERICAN AND ENGLISH ENCYCLOPÆDIA OF LAW 358 (2nd
ed., 1900).The Supreme Court has recognized this work as an important source for
reconstructing legal thought in the post-Civil War era, see Counterman v.
Colorado, 600 U.S. 66, 143 S. Ct. 2106, 216 L. Ed. 2d 775 (2023) at 96
(describing the English and American Encyclopedia as a “leading treatise.”) A
multi-volume reference work, this collection was considered to be an essential part
of a basic library for lawyers, see American and English Encyclopedia of Law,
Vol. 29, 42 Cent. L.J. 397, 400 (1896) (book review).
        40. See New Books and Editions: Hochheimer on Custody of Infants, 36
ALB. L.J. 380, 380 (1887) (celebrating Hochheimer’s new book, The Law Relating
to the Custody of Infants).
        41.    See Lewis Hochheimer, The Police Power, 44 CENT. L.J. 158, 158,
161 (1897). Hochheimer defined the police power as “the inherent and plenary
power of a State or government to prescribe regulations to preserve and promote
the public safety, health and morals, and to prohibit all things hurtful to the
comfort and welfare of society.” Id. at 158. He noted that “[t]he constitutionality of
statutes as to the care and protection of minors has been universally upheld,” See
id. at 161; See LEWIS HOCHHEIMER, A MANUAL OF CRIMINAL LAW AS ESTABLISHED
IN THE STATE OF MARYLAND 146–47 (1889) (“The carrying or wearing of
dangerous or deadly weapons concealed upon or about the person and the carrying
                                                                         (continued…)


                                         16
 Case 1:24-cv-00496-JAO-WRP         Document 35-2     Filed 12/23/24   Page 19 of 77
                                     PageID.342


prohibitions, designed for the protection of their morals and health and the security

of their persons, such as those relating to the sale of . . . dangerous weapons,” i.e.,

firearms. 42 His comments echoed other commentators from the period who saw

firearms regulation as the locus classicus of state police power authority. 43

                     FOUNDING ERA DISTRUST OF MINORS’
                       UNSUPERVISED ACCESS TO GUNS

      30.    Most of the exclusionary policies in place in the Founding era,

including laws disarming racial and religious minorities, would not survive

constitutional challenge today. The same is not true for laws governing minors. In



or wearing of such weapons openly, with the intent or purpose of injuring any
person, are statutory offenses. Such statutes have frequently been held not to
conflict with the constitutional right of the people of the United States to keep and
to bear arms.” (footnotes removed)). A Reconstruction era review of Hochheimer’s
book on infants praised the work for its exhaustive treatment of the subject, noting
that it offered a “convenient and comprehensive summary” of the rights, remedies,
and procedures available to infants, parents, guardians, and courts in this area of
the law. New Books and Editions: Hochheimer on Custody of Infants, supra note
40, at 380. A brief review in the Harvard Law Review also praised the book for its
“careful exposition of a small but important topic in the law.” Reviews, 13 HARV.
L. REV. 416, 420 (1900) (giving a positive review to Lewis Hochheimer’s book,
The Law Relating to the Custody of Infants).
        42. See LEWIS HOCHHEIMER, THE LAW RELATING TO THE CUSTODY OF
INFANTS 1, 3-4 (3d ed. 1899) at 2–4 (describing the scope of the government’s
police power over infants).
        43. For an exploration of the broad legal consensus on the scope of police
power regulation of arms during the era of the Fourteenth Amendment, Saul
Cornell, The Right to Regulate Arms in the Era of the Fourteenth Amendment: The
Emergence of Good Cause Permit Schemes in Post-Civil War America, 55 UC
DAVIS L. REV. ONLINE 65, 68–70, 78 (2021) [hereinafter Cornell, Right to
Regulate]



                                          17
 Case 1:24-cv-00496-JAO-WRP        Document 35-2    Filed 12/23/24   Page 20 of 77
                                    PageID.343


marked contrast to these other laws driven by impermissible forms of animus, the

view that minors lack the maturity and discretion needed to acquire and use arms

without adult supervision is entirely consistent with modern science and law. 44

      31.    Indeed, the continuity between common law views of the limited ability

of minors to act responsibly and modern cognitive science’s understanding of brain

development is striking. Consider the characterization of minors’ limited capacity in

this regard from a popular legal guide from the Founding era. Drawing on the revered

English common law authority Bracton, an early American justice of the peace

manual 45 noted:

      From the observations made on the daily actions of infants as to their
      arriving to discretion, the laws and customs of every country have fixed
      upon particular periods on which are presumed capable of acting with
      reason and discretion: hence in our law the full age of man or woman is
      twenty-one years. 46

      32.    Although some of the disabilities attaching to minors’ unique status

under law have been removed in the two centuries since the adoption of the Second



      44
          Megan Walsh & Saul Cornell, Age Restrictions and the Right to Keep and
Bear Arms, 1791-1868, 108 MINN. L. REV. 3049 (2024).
45 On the central role that justice of the peace manuals played in Anglo-American

legal culture, see Larry M. Boyer, The Justice of the Peace in England and America
from 1506 to 1776: A Bibliographic History, 34 Q.J. LIBR. CONG. 315, 317-18
(1977), and JOHN B. NANN & MORRIS L. COHEN, THE YALE LAW SCHOOL GUIDE TO
RESEARCH IN AMERICAN LEGAL HISTORY 87 (2018); Brewer, supra note 30 at 369-
371.
       46
          [A Gentleman of the Law] A NEW CONDUCTOR GENERALIS
(Albany,1803) at 237.



                                         18
 Case 1:24-cv-00496-JAO-WRP          Document 35-2      Filed 12/23/24   Page 21 of 77
                                      PageID.344


Amendment, American law continues to treat minors differently than adults. As

Justice Barrett has noted in another Second Amendment context: “History is

consistent with common sense.” 47 In this instance the common sense embodied in

the common law and modern science are in complete accord. 48

      33.    One of the clearest demonstrations of the diminished capacity of minors

to behave responsibly with arms when not supervised may be found in the stringent

rules prohibiting weapons at colleges in the Revolutionary era. 49 College was one

of the very few circumstances where minors lived outside of their parents’ or a

guardians’ direct authority. As a matter of law, minors attending college traded strict

parental authority for an equally restrictive rule of in loco parentis. 50

      34.    Harvard’s campus rules adopted in the era of the American Revolution

prohibited guns on campus:

      XVI. No Undergraduate shall keep a Gun, Pistol or any Gunpowder in the
      College, without Leave of the President—nor shall he go a gunning,
      fishing, or seating over deep Waters, without Leave from the President, or
      one of the Tutors or Professors, under the Penalty of one shilling for either
      of the Offences aforesaid—and if any Scholar shall fire a Gun, or Pistol,
      within the College Walls, Yard or near the College, he shall be fined not

      47
          Kanter v. Barr, 919 F.3d 437, 451, 464–465 (CA7 2019) (Barrett, J.,
dissenting).
       48
          For a discussion of the way modern cognitive science and psychology
have vindicated the Founders view of minors’ lack of discretion and impulse
control, see supra note 44.
49
   Robert J. Spitzer, Historical Weapons Restrictions on Minors, 76 RUTGERS U.
L. REV 101 (2024).
50
   Brian Jackson, The Lingering Legacy of “In Loco Parentis”: An Historical
Survey and Proposal for Reform, 44 VAND. L. REV.1135 (1991).



                                           19
     Case 1:24-cv-00496-JAO-WRP      Document 35-2     Filed 12/23/24   Page 22 of 77
                                      PageID.345


         exceeding two shillings & six pence, or be admonished, degraded, or
         rusticated according to the Aggravation of the Offence. 51

         35.   Although Harvard was a private entity, its role in early Massachusetts

society straddled the public and private spheres. 52 Other colleges in the Founding

era adopted similar restrictions. Yale College prohibited students from possessing

any guns or gun powder. 53 Two years after the adoption of the Second Amendment,

Rhode Island College, the forerunner of Brown University, adopted its own stringent

ban on guns on campus that not only fined students for possession of firearms, but

threatened potential expulsion as well. 54

         36.   The University of Georgia, one of the nation’s oldest public institutions

of higher education, also forbade guns on campus. The rule was emphatic: “no

student shall be allowed to keep any gun, pistol, Dagger, Dirk[,] sword cane or any


51
   31 PUBLICATIONS OF THE COLONIAL SOCIETY OF MASSACHUSETTS: COLLECTIONS
338, 358 (1935).
52
   Thus, the Massachusetts Constitution of 1780 instructed the citizenry “to cherish
the interests of literature and the sciences, and all seminaries of them; especially
the university at Cambridge. MASS. CONST. ch. V, § 1. Laws of the Commonwealth
of Massachusetts from November 28, 1780 to February 28,1807, with the
Constitutions of the United States of America, and of the Commonwealth, 1780-
1807) at 580. Harvard students and faculty were exempted from militia obligations
but during the American Revolution Harvard College did create a militia company,
see Conrad E. Wright, Creating a Fellowship of Educated Men: Forming
Gentleman at Pre-Revolutionary Harvard, in YARDS AND GATES: GENDER IN
HARVARD AND RADCLIFFE HISTORY 17–38 (Laurel Ulrich ed., 2004).
53
   THE LAWS OF YALE-COLLEGE, IN NEW-HAVEN, IN CONNECTICUT, ENACTED BY
THE PRESIDENT AND FELLOWS, THE SIXTH DAY OF OCTOBER, A.D. 1795 p.26
(1800).
54
   LAWS OF RHODE ISLAND COLLEGE (1793) at 13.



                                             20
     Case 1:24-cv-00496-JAO-WRP     Document 35-2    Filed 12/23/24   Page 23 of 77
                                     PageID.346


other offensive weapon in College or elsewhere, neither shall they or either of them

be allowed to be possessed of the same out of the college in any case whatsoever.” 55

A similar law governed students at the University of North Carolina, another public

university founded in the same period. The university prohibition was total: “No

Student shall keep a dog, or firearms, or gunpowder. He shall not carry, keep, or own

at the College, a sword, dirk, sword-cane.” 56

         37.   The figure of Thomas Jefferson looms large in modern discussions

about the meaning of the Second Amendment. 57 Although Jefferson was among the

Founding generation’s most ardent defenders of an expansive vision of the right to

keep and bear arms, even he took a dim view of allowing guns at the University of

Virginia, the institution he helped found. Jefferson and his good friend James

Madison, the primary architect of the Second Amendment, attended the meeting in

which this sweeping prohibition of firearms on campus was adopted:

         No Student shall, within the precincts of the University, introduce,
         keep or use any spirituous or vinous liquors, keep or use weapons or



55
   The Minutes of the Senate Academicus 1799–1842, UNIVERSITY OF GEORGIA
LIBRARIES (1976),
https://www.libs.uga.edu/hargrett/archives/senatus/senatus%20academicus%20179
9-1811.pdf.
56
   ACTS OF THE GENERAL ASSEMBLY AND ORDINANCES OF THE TRUSTEES, FOR THE
ORGANIZATION AND GOVERNMENT OF THE UNIVERSITY OF NORTH-CAROLINA 15
(1838).
57
   David Thomas Konig, Thomas Jefferson's Armed Citizenry and the Republican
Militia, 1 ALB. GOV'T L. REV. 250 (2008).



                                          21
     Case 1:24-cv-00496-JAO-WRP     Document 35-2     Filed 12/23/24   Page 24 of 77
                                     PageID.347


         arms of any kind, or gunpowder, keep a servant, horse or dog, appear
         in school with a stick, or any weapon, nor, while in school.” 58

         38.   The rules and regulations of American colleges in the era of the Second

Amendment further support the conclusion that for individuals below the age of

majority, there was no unfettered right to purchase, keep, or bear arms. Rather,

access to, and the ability to keep or bear, weapons occurred in supervised situations

where minors were under the direction of those who enjoyed legal authority over

them: fathers, guardians, constables, justices of the peace, or militia officers. The

fact that such regulations were ubiquitous in the Founding era only underscores the

fact that legal and social norms governing American society in the era of the Second

Amendment’s ratification do not offer any support for plaintiffs’ view that

unsupervised minors were to be trusted with easy access to firearms. Quite the

opposite was the case: there was almost universal acceptance that guns in the hands

of minors required adult supervision and extensive training to be used safely. 59

         39.   Finally, the role of minors in community-based law enforcement also

merits further historical scrutiny. Participation in such activities was, as Professor

Edwards notes, embedded in the patriarchal structure of local communities. 60



58
   UNIVERSITY OF VIRGINIA BOARD OF VISITORS MINUTES (October 4–5, 1824) 1,
6–7 (1824), https://encyclopediavirginia.org/entries/university-of-virginia-board-
of-visitors-minutes-october-4-5-1824/.
59
   Walsh and Cornell, supra note 44 .
60
   Edwards, The Peace supra note 34.



                                          22
     Case 1:24-cv-00496-JAO-WRP     Document 35-2     Filed 12/23/24    Page 25 of 77
                                     PageID.348


Minors meeting this legal obligation, a distinct obligation from the militia, also acted

in a setting that was supervised by adults. A popular South Carolina justice of the

peace manual published in 1788, the year the Constitution was adopted, captured

this view when it described the categories of person “who shall not be a constable”

as including “infants,” “madmen,” and “idiots.” 61 The author of this influential legal

guide, John Fauchereaud Grimké, was among the state’s most distinguished jurists.

The fact that he included infants old enough to participate in the militia and local

law enforcement in the same legal category as those the law considered to be

incapable of asserting their legal will independently only highlights the absurdity of

treating those under 21 as having a robust, freestanding right to keep, bear, and freely

acquire arms at the time of the Founding.62 Any assertion that infants below the age

of majority could claim the right to bear arms outside of the militia or related

peacekeeping activities, without the authority of parents or a guardian, rests on an

anachronistic interpretation of early American militia statutes, ignorance of




61
   JOHN FAUCHEREAUD GRIMKÉ, THE SOUTH CAROLINA JUSTICE OF THE PEACE 117
(1788). Grimké was one of the state’s most eminent lawyers and became one of its
most influential jurists. For biographical background on his life, see Eli A.
Poliakoff, Grimké, John Faucheraud, SOUTH CAROLINA ENCYCLOPEDIA (May 17,
2016), https://www.scencyclopedia.org/sce/entries/grimke-john-faucheraud/.
62
   For a more elaborate argument about the dangers of interpreting the Second
Amendment with an ahistorical understanding of rights, see Jud Campbell, Natural
Rights, Positive Rights, and the Right to Keep and Bear Arms, 83 LAW &
CONTEMP. PROBS. 31 (2020).



                                          23
     Case 1:24-cv-00496-JAO-WRP    Document 35-2      Filed 12/23/24   Page 26 of 77
                                    PageID.349


Founding-era domestic law, and disregard of the social and economic realities of life

at the Founding. 63


                PROTECTING ORDERED LIBERTY IN AMERICA:
                     EARLY AMERICAN MILITIA LAWS
                        IN HISTORICAL CONTEXT

         40.   Plaintiffs build their case around an uncontroversial fact: colonial

militias and the militias created by the first states included white males between the

ages of eighteen and twenty, and sometimes younger, in their ranks. By including

some infants in the militia ranks, the statutes creating and regulating these militias

and the concomitant duties they imposed implemented policy goals aimed at arming

and expanding the ranks of able-bodied militiamen. But they did not embody or

establish a constitutional right that might be claimed by minors outside of this very

narrow context defined by the relevant statutes. Nor did these statutes alter the legal

age of majority; they simply implemented a policy goal of the states, and later the

federal government.

         41.   Although many states chose to include minors for policy reasons, the

composition of the militia was always dictated by strategic imperatives. States were


63
   During the era of the Second Amendment the federal government and the states
struggled to arm the militia with the right type of weapons, see Kevin M.
Sweeney, Firearms Ownership and Militias in Seventeenth and Eighteenth
Century England and America, in A RIGHT TO BEAR ARMS?: THE CONTESTED ROLE
OF HISTORY IN CONTEMPORARY DEBATES ON THE SECOND AMENDMENT (Jennifer
Tucker et al. eds., 2019).



                                          24
     Case 1:24-cv-00496-JAO-WRP    Document 35-2      Filed 12/23/24   Page 27 of 77
                                    PageID.350


at liberty to expand or contract the legal definitions of the militia to further their

goals of public defense. If a state felt it was important to exclude minors because of

the economic burden it placed on families or because younger Americans were

viewed as less effective soldiers, there was nothing to prevent a legislature from

implementing such changes.

         42.   Federalist Thomas Fitzsimons, a member of both the Constitutional

Convention and the first Congress that drafted the Second Amendment, captured the

view of many in the Founding era when he expressed concerns about imposing

overly burdensome requirements of militia service on the nation. Commenting

during the debate over the first militia act, Fitzsimons reminded members of

Congress that “subjecting the whole body of the people to be drawn out four or five

times a year was a great and unnecessary tax on the community.” 64 The ultimate

decision on the composition of the militia was entirely within the purview of

Congress.

         43.   States had plenary authority to alter the age requirement for

participation in the militia. New Jersey changed the legal definition of the militia in

1821: “[F]rom and after the passing of this act, all persons under the age of twenty-




64
  ANNALS OF CONGRESS, House of Representatives, 1st Congress, 3rd Session
(1790) at 1852.



                                          25
     Case 1:24-cv-00496-JAO-WRP      Document 35-2      Filed 12/23/24   Page 28 of 77
                                      PageID.351


one years be, and they are hereby, exempt from militia duty in time of peace.” 65

Kansas excluded minors by framing its constitutional provision on the militia as

follows: “The militia shall be composed of all able-bodied white male citizens

between the ages of twenty-one and forty-five years.” 66

         44.   The ideal of a broadly inclusive vision of the militia, at least as far as

white males were concerned, was venerated in public orations, pamphlets, and

newspaper essays, but a close look at the statutes enacted by various states and the

federal government in the decades after the adoption of the Second Amendment

reveals a different legal reality. 67 Instead of mandating a universal and broadly

inclusive militia in the text of the Constitution, the Framers wisely chose to give

Congress the power to define the composition of the militia. There was no textual

mandate in the Constitution that compelled future generations to include minors if


65
   An Act to exempt minors from Militia Duty in time of peace, in Josiah Harrison,
Ed., A Compilation Of The Public Laws Of The State Of New-Jersey Passed Since
The Revision In The Year 1820 266 (1833). By the 1820s, the militia had fallen
into disrepute in many parts of America and became a subject of satire and
ridicule, see David, Tatham, David Claypoole Johnston's Militia Muster, 19
AMERICAN ART JOURNAL 4 (1987).
66
   Kan. Const. of 1859, art. 8, § 1.
67
   See Bernard Bailyn, THE IDEOLOGICAL ORIGINS OF THE AMERICAN REVOLUTION
(1967); J. G. A. Pocock, THE MACHIAVELLIAN MOMENT: FLORENTINE POLITICAL
THOUGHT AND THE ATLANTIC REPUBLICAN TRADITION (1975); Saul Cornell, A
WELL REGULATED MILITIA: THE FOUNDING FATHERS AND THE ORIGINS OF GUN
CONTROL IN AMERICA 69 (2008); Lawrence Delbert Cress, CITIZENS IN ARMS: THE
ARMY AND MILITIA IN AMERICAN SOCIETY TO THE WAR OF 1812 (1982); Noah
Shusterman, IN ARMED CITIZENS: THE ROAD FROM ANCIENT ROME TO THE SECOND
AMENDMENT (2020).



                                           26
     Case 1:24-cv-00496-JAO-WRP    Document 35-2     Filed 12/23/24   Page 29 of 77
                                    PageID.352


such a policy was deemed to be undesirable. If a particular future Congress believed

that society and public defense meant that minors’ labor was needed elsewhere or if

it concluded that minors were not well suited to the military tasks required for

national defense, there was no legal ground for minors to claim a right to participate

in the militia or acquire the weapons needed for militia service. 68 Thus, as a matter

of constitutional law the composition of the militia was left to Congress to determine

it as it saw fit.

         45.   Nor is it surprising that those most familiar with American military

matters in the era of the Second Amendment, including virtually all the Federalist

Founders, believed that America’s heavy dependence on the militia had been a

strategic mistake in the American Revolution, one that had severely hampered the

struggle for independence. 69 George Washington’s private correspondences contain

withering comments about the inadequacy of the militia, and the necessity of

creating an effective standing army. 70 When Congress finally debated the structure


68
   Jack N. Rakove, The Second Amendment: The Highest State of Originalism, 76
CHI.-KENT L. REV. 103, 108, 120-125 (2000) (notes the significance of this tension
between American political rhetoric and constitutional law in the Founding Era).
On the distinction between legal meaning and ordinary public meaning in
originalist theory, see William Baude & Stephen E. Sachs, Grounding Originalism,
113 NW.U.L.REV. 1455 (2019).
69
   On the importance of distinguishing between Federalist and Anti-Federalist
views of the militia, see Cornell, A WELL REGULATED MILITIA, supra note
67, at 41-70.
70
   From George Washington to Lund Washington, 30 September 1776, NAT’L
ARCHIVES, https://founders.archives.gov/documents/Washington/03-06-02-0341.



                                         27
     Case 1:24-cv-00496-JAO-WRP      Document 35-2      Filed 12/23/24   Page 30 of 77
                                      PageID.353


of the militia in the First Congress, there were deep divisions over the organization

and structure of the militia. Many—particularly those who had served with

Washington in the Continental Army—recognized that the militia, including the

Revolutionary-era militia, was never, as some orators and newspaper essayists

proclaimed, an effective fighting force that included the whole body of the people in

arms. Those most familiar with the militia’s performance during the Revolution

feared placing the future security of the nation entirely in the hands of such a militia.

         46.   Many in the First Congress, including the many Federalists who

outnumbered their Anti-Federalist adversaries, shared Washington’s concerns and

doubted the wisdom of continuing to conceive of the militia in the expansive terms

that republican theory demanded—a body of independent yeoman drawn from the

ranks of nearly all able-bodied white men of the nation. Despite a close vote on the

issue in Congress, the first federal militia act rejected calls to create an elite, select

militia. 71 Instead, it carried forward the model of earlier colonial laws and defined

membership in the militia broadly, but did little to guarantee that such a militia would

be properly armed. 72 The debates over the future of the militia in Congress reveal a

tension between the ideals espoused in popular rhetoric and the reasoned

consideration of America’s military leaders. More germane to contemporary Second



71
     Cornell, A WELL REGULATED MILITIA, supra note 67.
72
     Id.



                                           28
     Case 1:24-cv-00496-JAO-WRP      Document 35-2     Filed 12/23/24    Page 31 of 77
                                      PageID.354


Amendment jurisprudence, the exact nature of the militia’s composition was left to

the political branches to decide in accordance with the policy requirements of the

nation.

          47.   The notion that the composition of the militia, including the

participation of minors, was hard wired into our constitutional order at the Founding

is simply mistaken. Rhetorical flourishes should not be confused with actual laws

governing the militia, which were shaped by political and military imperatives of

public policy and not determined by fixed constitutional principles or the lofty

encomiums that often appeared in print, toasts, and orations. 73 The size of the militia,

its composition, and the rules for its training were not constitutionally mandated at

the Founding, but have varied across American history, a fact that continues to this

day. 74

          48.   The militia laws in the Revolutionary era not only defined who was in

the militia; they also specified the types of weapons that were required to meet this

civic obligation and imposed fines and other punishments on those who failed to

show up to mandatory musters properly armed. 75 In the American legal tradition


73
   Cornell, WELL REGULATED MILITIA.
74
   H. R. Uviller & William G. Merkel, The Second Amendment in Context: The
Case of the Vanishing Predicate, 76 CHI.-KENT L. REV. 403 (2000).
75
   For a good example, see Act of Dec. 20, 1791, 1791 S.C. Acts 16, (amending
and putting into force an earlier act entitled “an Act for the regulation of the Militia
of this state, passed the 26th day of March 1784”); see also Act of Jan. 18, 1815,
ch. 131, 1815 Mo. Laws 360 (condensing the several Militia laws into a single act).



                                           29
     Case 1:24-cv-00496-JAO-WRP      Document 35-2      Filed 12/23/24   Page 32 of 77
                                      PageID.355


rights are not understood to give government almost unlimited authority over

citizens, so plaintiffs’ argument is based on serious constitutional error.

         49.   The fact that failure to adequately arm and maintain the prescribed type

of weapons required of militia men resulted in harsh penalties and possible court

martial only further undermines claims that one can interpret early American militia

laws as evidence of a broad and relatively unfettered right to keep and bear arms for

minors. 76 A 1794 Rhode Island statute adopted a few years after the Second

Amendment was framed is illustrative of the severity of these punishments:

         That every non-commissioned officer or private who shall neglect to
         appear at the regimental Rendezvous, shall forfeit the sum of Six
         Shillings and for every day he shall neglect to appear at the company
         parade, he shall forfeit Four Shillings and Sixpence. And if he shall not
         be armed and equipped according to other said Act of congress, when
         so appearing, without sufficient excuse, he shall, for appearing without
         a gun, forfeit one shilling and sixpence; without bayonet and belt six
         pence; without a Bayonet and Belt, Sixpence; without a Cartouch-Box
         and Cartridges. 77

         50.   Once they had mustered, members of the militia were subject to the full

rigors of military discipline and punishment. 78 Indeed, eighteenth century military

discipline was exceedingly harsh, including corporal punishment such as


76
   See for example, Act effective May 5th, 1794, 1794 R.I. Pub. Laws 14, 21,
(organizing the militia of the state); Act of Dec. 28, 1792, 1795 N.H. Laws 525
(adding to a prior act regulating the state militia). Act of 1799, § 4, 1799 Conn.
Acts 511, 512–13 (providing for fines and penalties for "[n]on-appearance and
deficiencies" of equipment).
77
   Act effective May 5th, 1794, § 10, 1794 R.I. Pub. Laws 14, 21.
78
   Houston v. Moore, 18 U.S. 1 (1820).



                                            30
     Case 1:24-cv-00496-JAO-WRP    Document 35-2     Filed 12/23/24    Page 33 of 77
                                    PageID.356


whipping. 79 During this era, the goal of achieving good military discipline justified

a range of discipline and punishment for failure to comply with mandatory duties.

In the American legal tradition rights, by contrast, do not endow government with

the power to punish citizens for not exercising them. 80

         51.   Government, not individual citizens, decided which weapons were

necessary to meet the obligation imposed by militia laws. Failure to acquire the

officially prescribed type of weaponry could result in fines and other punishments. 81

As far as the militia was concerned, all guns were not created equal in the eyes of

the law: only a tiny fraction of the guns in private hands qualified for the highest

level of constitutional protection. Most guns were treated as ordinary private

property and could be seized in debt proceedings or sold for tax arrears. 82

                       MINORS AND MILITIA ARMS:
                UNDERSTANDING THE LEGAL SIGNIFICANCE OF


79
   Laws To authorize a detachment from the militia of the United States., Chapter
55, § 6, 12 Congress, Public Law 12-55. 2 Stat. 705 (1812) (Prohibiting whipping a
common form of punishment used by the military in the eighteenth century).
       80
          Kenneth, Campbell, “Legal Rights”, Stanford Encyclopedia of
Philosophy (Winter 2022 Edition), Edward N. Zalta & Uri Nodelman (eds.), URL
= https://plato.stanford.edu/archives/win2022/entries/legal-rights/.
81
   For a sampling of Founding-era militia statutes, see Act of Apr. 3, 1778, ch. 33,
1778 N.Y. Laws 136 (raising a thousand men to defend the state); Act of 1786, ch.
1, 1786 N.C. Sess. Laws 407 (raising troops to protect the inhabitants of Davidson
county)
82
   For additional examples of the scope of early militia regulations, see Act of Apr.
14, 1778, ch. 21, 1778 N.J. Laws 41, 2d. Gen. Assembly (regulating, training, and
arraying the militia); Act of Feb. 16, 1779, 1779 Vt. Acts & Resolves 57 (forming
and regulating the militia; encouraging military skill for state defense).



                                         31
     Case 1:24-cv-00496-JAO-WRP       Document 35-2    Filed 12/23/24   Page 34 of 77
                                       PageID.357


                 AND NEED FOR EARLY AMERICAN MILITIA LAWS

          52.   Rather than erect a barrier against government intrusion into the most

private sphere of American life, militia statutes did the opposite: they gave

government sweeping powers over the lives and property of those required to serve

in the militia. Weapons purchased for militia service were subject to government

inspection. Indeed, although militia weapons were typically privately owned, they

were among the most heavily regulated forms of private property in early American

law. 83

          53.   Interpreting early American militia laws requires reading these statutes

as Founding era Americans would have understood them. These laws imposed a

legal obligation on Americans; they did not create or assert a right against

government regulation. Indeed, these laws were a highly intrusive form of

government regulation. 84 Militia statutes gave government broad authority to

compel individuals to engage in specified actions or face punishment. 85 Thus, when

these laws are understood within their historical context, they demonstrate that those

serving in the militia, including minors, did not have a freestanding and robust right



83
   Cornell & DeDino, supra note 2, at 508-10.
84
   There is a vast, erudite, and complex scholarly literature on the nature of legal
rights in the modern Anglo-American legal tradition. See, e.g., Joseph Raz, Legal
Rights, 4 OXFORD J. LEGAL STUD. 1, 14 (1984); Leif Wenar, Rights, THE
STANFORD ENCYCLOPEDIA OF PHILOSOPHY (Edward N. Zalta ed., 2021).
85
   Cornell & DeDino, supra note 2, at 508-10.



                                            32
     Case 1:24-cv-00496-JAO-WRP    Document 35-2     Filed 12/23/24   Page 35 of 77
                                    PageID.358


to acquire, keep, and bear whatever arms they desired for whatever purpose. Rather,

these laws compelled individuals to purchase or bring to muster the specific type of

weapons the government wished them to use.

         54.   The responsibility for acquiring weapons generally fell on those who

were legally responsible for minors, not the minors themselves. Early American

militia statutes typically did not penalize minors for failing to obtain the required

arms necessary to participate in the militia. Instead, parents and guardians were

responsible for acquiring militia weapons for their minor children or charges under

the age of 21. For example, New Hampshire’s 1792 militia law was explicit that

parents and guardians had a legal obligation and suffered the penalties for failing to

acquire the necessary weapons for militia participation: “That such of the infantry

as are under the care of parents, masters or guardians, shall be furnished by them

with such arms and accoutrements.” 86 And even when such obligations were not

expressly included by statute, the common law definition of infants meant that they

could not purchase arms because of their inability to make contracts. Moreover,

legal proceedings to prosecute minors for failing to honor such agreements were not

binding so gun smiths and merchants had strong incentives to not engage in such



86
  An Act for Forming and Regulating the Militia Within This State, and For
Repealing All the Laws Heretofore Made for That Purpose N.H., 447 (1792); see
also, An Act for regulating, governing, and training the Militia of this
Commonwealth, ch. CVII, § 28, in 1810 Mass. Laws 151, 176.



                                         33
     Case 1:24-cv-00496-JAO-WRP        Document 35-2       Filed 12/23/24    Page 36 of 77
                                        PageID.359


economic transactions. 87 Thus, the claim that militia laws offer strong proof of the

existence of a right possessed by minors to keep and bear arms makes neither legal

nor historical sense. 88

         55.    In 1793, shortly after Congress adopted the first ten Amendments

during the First Congress, Pennsylvania enacted the following act modifying the

nature of its militia law by exempting minors from having to purchase weapons:

         I. Be it enacted. . . That each and every free, able-bodied, white, male
         citizen of this or any other of the United States, residing in this
         commonwealth, who is or shall be of the age of eighteen years and
         under the age of forty-five years, except as hereinafter excepted, shall
         severally and respectively be enrolled in the militia.

         II. And be it further enacted. . . [that certain categories of persons] shall
         be, and are hereby, excepted from military duty, notwithstanding their
         being above the age of eighteen and under the age of forty-five years.
         And also all young men under the age of twenty-one years, and all
         servants purchased bona fide and for a valuable consideration, shall be
         exempted from furnishing the necessary arms, ammunition and
         accoutrements, as are required by the fifth section thereof, and shall be
         excepted from militia duties and fines during such minority or
         servitude, except in cases of rebellion, or an actual or threatened
         invasion of this or any of the neighboring states. 89




87
   Brief of Amici Curiae Historian Holly Brewer in Support of Appellant and in
Support of Reversal at 16–23, Worth v. Jacobson, No. 23-2248 (8th Cir. July 25,
2023).
88
   Jonathan Gienapp, The Foreign Founding: Rights, Fixity, and the Original
Constitution, 97 TEX. L. REV. ONLINE 115 (2019); Jud Campbell, Judicial Review
and the Enumeration of Rights, 15 GEO. J.L. & PUB. POL’Y 569 (2017).
89
   Act of April 11, 1793, ch. 176, §§ 1–2, 1793 Pa. Laws 394, 394–95 (regulating
the militia of Pennsylvania).



                                              34
     Case 1:24-cv-00496-JAO-WRP     Document 35-2    Filed 12/23/24   Page 37 of 77
                                     PageID.360


         56.   This Pennsylvania statute illustrates that there was no fixed

constitutional requirement that minors participate in the militia nor was it a

constitutional requirement that they acquire weapons. Both of these legal obligations

were dictated by the policy choice that individual states and the federal government

made in response to the need to promote public defense, as discussed above. 90 Many

states exempted students from militia service, and individual states were free to

exempt any other sub-category of minors, or all minors if they wished, if such a

policy furthered the goal of strengthening the militia or other state policy

objectives. 91 A state could choose to exempt minors from the requirement to

purchase weapons if such a policy was expedient, or exclude them from the militia

entirely.

         57.   Militia statutes did not exist in a vacuum, and they must be read and

interpreted in the relevant historical contexts in which they were enacted. The labor

of sons was vital to the survival and prosperity of family farms in a pre-industrial

largely agrarian economy. Outside the slave South, the value of this type of labor


90
   Act of Mar. 12, 1844, § 2, 1843 Ohio Laws 53, 53 (only requiring those between
the ages of twenty-one and forty-five to be enrolled in the militia); Act of May 4,
1864, no. 211, § 1, 1864 Pa. Laws 221, 221–22 (same).
91
   Delaware adopted a similar provision to Pennsylvania in 1806, exempting
minors enrolled in the militia from acquiring weapons, Act of Aug. 13, 1807, ch.
XLIX, §§ 1–2, 4, in 4 LAWS OF THE STATE, OF DELAWARE 123, 123–24, 125–26
(M. Bradford & R. Porter eds., 1816). In 1829 New Jersey exempted all militia-
eligible minors from participation during peace time, Act of Nov. 6, 1829, 1829
N.J. Laws 3.



                                          35
     Case 1:24-cv-00496-JAO-WRP      Document 35-2     Filed 12/23/24   Page 38 of 77
                                      PageID.361


was essential for those engaged in farming. In other sectors of the economy,

apprentices were indispensable to artisan modes of production. Given the strong

economic pressures on small farm owners and artisans in a pre-industrial society,

market forces could easily have led families to prevent sons or apprentices from

joining the militia voluntarily. 92 Thus, at the time of the Second Amendment’s

enactment these legal and social facts meant that it was necessary for the states to

enact laws that gave government the authority to force able-bodied minors under 21

to participate even if it meant economic burdens to their families and employers.

Without such laws, it is likely that few minors would have been enrolled in the

militia because of the opposition of those who needed their labor, i.e., parents,

guardians, and masters. And the states flexed that power by threatening punishment:

Delaware’s 1776 militia law, for example, expressly recognized this problem and

included a provision that levied a fine on any “Masters, Guardians, and Parents” who

“restrained” militia-eligible minors from enrolling. 93

         58.   Rather than provide historical proof that infants under 21 had expansive

rights and strong legal claims against government interference with firearms rights,

then, the various militia laws and common law requirements mandating that

individuals assist in keeping the peace evidence the considerable power early



92
     Robert A. Gross, THE MINUTEMEN AND THEIR WORLD (1976).
93
     Delaware, An Act establishing a Militia in this State. Law and Statutes, 4 (1776).



                                           36
     Case 1:24-cv-00496-JAO-WRP      Document 35-2       Filed 12/23/24   Page 39 of 77
                                      PageID.362


American governments had to compel individuals, including minors under the age

of 21, into public service when society required their labor. This coercion was in

essence a form of taxation. Few in modern America would confuse taxes with rights,

but this confusion is central to plaintiffs’ argument.

         59.   It is also important to understand the social history of the Founding Era,

particularly the way economic realities shaped family formation in this period.

Minors under 21 living under the authority of their fathers faced significant hurdles

in establishing their own independent households. The laws governing settlement

and residency for Massachusetts are revealing in this regard: they imposed an age

requirement of twenty-one, as well as a variety of different wealth requirements, to

establish residency in the commonwealth. 94 Moreover, acquiring the necessary

economic resources to establish independence was increasingly difficult during the

era of the Second Amendment. Indeed, most adult men in Concord, the town

virtually synonymous with the Minuteman ideal of a well-regulated militia, were

forced by economic necessity to postpone establishing their own independent

households until their mid-twenties, a decision necessitated by the difficulty of



94
  Persons residing outside of a properly governed household, i.e., a home headed
by a white male patriarch, could be banished from early New England towns, a
process known as “warning out,” see Douglas Lamar Jones, The Transformation
of the Law of Poverty in Eighteenth-Century Massachusetts, 62 PUBLICATIONS OF
THE COLONIAL SOCIETY OF MASSACHUSETTS: LAW IN COLONIA MASSACHUSETTS
1630–1800 152, 190 (1984).



                                           37
     Case 1:24-cv-00496-JAO-WRP      Document 35-2      Filed 12/23/24    Page 40 of 77
                                      PageID.363


acquiring enough land to establish an independent farmstead. Although these

persons were no longer minors in the eyes of the law after turning 21, in virtually

every other respect they remained under the patriarchal authority of their fathers as

a practical matter in most respects until they could leave home. 95

         60.   Plaintiffs’ ahistorical conception of the realities of life in the Founding

era is marred by ignorance of other economic realities well established by historical

scholarship on this period. At the time of the Second Amendment there were six

banks in the United States. The economy was dominated by credit transactions

because cash was scarce. On the eve of the American Revolution and the adoption

of the first state arms bearing provisions over 95% of economic transactions were

credit based. The numbers from Massachusetts in the table below make this point

clearly. 96


                          Credit           Cash            Barter



                            98.5            1.0              0.4




95
   Mary Babson Fuhrer, The Revolutionary Worlds of Lexington and Concord
Compared 85 NEW ENGLAND Q. 78 (2012).
96
   Flynn, David. “Credit in the Colonial American Economy”. EH.Net
Encyclopedia, edited by Robert Whaples. March 16, 2008.
URL https://eh.net/encyclopedia/credit-in-the-colonial-american-economy/



                                            38
     Case 1:24-cv-00496-JAO-WRP    Document 35-2      Filed 12/23/24   Page 41 of 77
                                    PageID.364


         61.   In the decades after the adoption of the Second Amendment, the New

England economy, one of the most closely studied regions of the new republic,

remained primarily credit based. 97 Given these facts, acquiring firearms would have

required access to credit, something infants were unable to procure because they

could not make contracts. 98

               REGULATING GUNS IN AN ERA OF LOW GUN VIOLENCE
                     AND RELATIVE FIREARMS SCARCITY

         62.   The fact that there are no modern style gun control laws from the

Founding era is unremarkable. The Founding era did not have a modern style gun

violence problem to address. 99 Muzzle loading black powder weapons were ill-

suited to impulsive acts of violence and not well adapted to the task of personal self-

defense. The weapons were not typically left loaded because black powder was

corrosive and hydroscopic (readily absorbing moisture): two technological

limits that militated against using these types of weapons in emergency self-defense

situations. 100 Moreover, only a tiny fraction of Founding era guns were pistols that

could be easily transported or carried on a person. Pistols in this period were even



97
   For a useful overview of the cash poor credit economy of early New England,
see Tom Kelleher, The Debit Economy of 1830s New England, (Sturbridge, Mass.:
Old Sturbridge Village) available at https://www.teachushistory.org/detocqueville-
visit-united-states/articles/debit-economy-1830s-new-england.
98
    Supra Brewer note 87.
99
   Randolph Roth, AMERICAN HOMICIDE 180-249 (2009).
100
    Id.



                                          39
  Case 1:24-cv-00496-JAO-WRP        Document 35-2      Filed 12/23/24    Page 42 of 77
                                     PageID.365


less reliable than long guns in most self-defense situations because they could not

function as a bludgeon in case of a misfire. 101 Until the era of the revolver, roughly

1840, individuals interested in defending themselves against attack while traveling

in public were far better off sporting a sword cane, knife, or dirk than a pistol. 102

      63.    Indeed, most early arms regulations included edged weapons alongside

firearms for this reason. Given these basic facts about early American crime and gun

technology it turns out that Founding era gun laws unsurprisingly were not primarily

designed to address problems of inter-personal gun violence that modern America

faces. Moreover, the economics of gun production meant that few households apart

from the wealthiest owned multiple weapons. 103 Thus, the absence of laws limiting

minors from acquiring weapons in the Founding era reflects nothing more than the

basic economics and practical realities of gun ownership and military policy in the

era. It has nothing to do with the existence of an unfettered underlying constitutional

right for those under twenty-one to acquire and use weapons.

      64.    The over-arching aim of early American gun policy was driven by a

policy concern entirely absent from the modern debate over firearms policy: the


101
    Kevin M. Sweeney, Firearms Ownership and Militias in Seventeenth and
Eighteenth Century England and America, in A RIGHT TO BEAR ARMS?: THE
CONTESTED ROLE OF HISTORY IN CONTEMPORARY DEBATES ON THE SECOND
AMENDMENT (Jennifer Tucker et al. eds., 2019).
102
    Cornell, supra note 67.
103
    Kevin Sweeney, “Firearms, Militias, and the Second Amendment” in The
Second Amendment On Trial (Saul Cornell and Nathan Kozuskanich, eds., 2013).



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  Case 1:24-cv-00496-JAO-WRP       Document 35-2        Filed 12/23/24   Page 43 of 77
                                    PageID.366


relative scarcity of military style weapons. American governments faced a problem

quite alien to modern America: the urgent need to arm militias with the necessary

weapons for ground warfare. Given that there were generally too few muskets in the

hands of militia members to arm them properly in the Founding era, there was no

reason to limit access to such weapons. The goal of government policy was to arm

Americans who possessed too few of the right kind of weapons, not disarm them

because there were more guns than people, the situation America faces today.

               THE POLICE POWER AND REGULATION OF
                 MINORS’ ACCESS TO ARMS, 1776-1900

      65.    The power to regulate firearms and gunpowder has always been central

to the police power and historically was shared by both states and local

municipalities. 104 The federal government enjoyed a limited police power that

governed federal land, buildings and the territories.

      66.    Heller recognized the broad scope of state authority to regulate arms

inherent in the state police power. 105 This issue was central to one of the antebellum

cases Heller cited as authoritative, State v. Reid. 106 The case upheld a concealed

carry prohibition, noting that the right to keep and bear arms left “with the




104
    Harry N. Scheiber, State Police Power, in 4 ENCYCLOPEDIA OF THE AMERICAN
CONSTITUTION 1744 (Leonard W. Levy et al. eds., 1986).
105
    See Heller, 554 U.S. at 629.
106
    State v. Reid, 1 Ala. 612 (1840).



                                          41
  Case 1:24-cv-00496-JAO-WRP       Document 35-2    Filed 12/23/24    Page 44 of 77
                                    PageID.367


Legislature the authority to adopt such regulations of police, as may be dictated by

the safety of the people and the advancement of public morals.” 107

      67.    Police power regulations also impacted minors’ relationship to arms

and gun powder. As was true for other applications of the police power, the

enactment of specific laws aimed at minors depended on the practical and public

perceptions of the need for government regulation in a particular area.

      68.    Modern-style arms control measures targeting weapons better suited for

crime and inter-personal violence, and not especially useful for militia service, did

not emerge in American law until technological changes and economic efficiencies

made pistols more accurate, more easily concealed, and more widely available in the

early nineteenth century. 108

      69.    The market revolution of the Jacksonian period (1828-1854)

transformed American life, making a host of consumer goods—from wooden clocks

to firearms—widely available for the first time. The impact of these interconnected

set of changes in production, consumption, and technology transformed gun culture

by making a variety of weapons, including pistols, more common and more

reliable. 109 At the time of the Second Amendment’s ratification, 90% of the guns

owned by Americans were long guns. By the time Andrew Jackson became president


107
    Id., at 616.
108
    Cornell, Well Regulated, supra note 67.
109
    Id.



                                         42
  Case 1:24-cv-00496-JAO-WRP         Document 35-2      Filed 12/23/24   Page 45 of 77
                                      PageID.368


a variety of easily concealed weapons, including firearms and weapons such as the

Bowie knife, had proliferated. 110

      70.    In response to the perception that these easily concealed weapons posed

a particular danger, states began passing a variety of laws addressing interpersonal

violence. 111 By the time of the Civil War many states had enacted a variety of laws

to deal with the problem of gun violence, including the special dangers firearms

posed to minors. In 1856, for example, Alabama adopted a provision focusing on the

specific problem posed by the sale of pistols and other concealable weapons to

minors and imposed a substantial financial penalty:

      “That anyone who shall sell or give or lend, to any male minor, a bowie knife,
      or knife or instrument of the like kind or description, by whatever name called,
      or air gun or pistol, shall, on conviction be fined not less than three hundred,
      nor more than one thousand dollars.” 112

      71.    Tennessee passed a similar law: “That any one who shall sell or give or

lend, to any male minor, a . . . air gun or pistol, shall, on conviction be fined not less

than three hundred, nor more than one thousand dollars.” 113 Kentucky also enacted

a similar law, but carved out an exception if a minor was supervised by an adult:

      If any person, other than the parent or guardian, shall sell, give or loan, any
      pistol, dirk, bowie knife, brass knucks, slung-shot, colt, cane-gun, or other


110
    Sweeney, Firearms Ownership and Militias supra note 60.
111
    Cornell, supra note 2. For a good example, see Of Miscellaneous Offences, ch.
7, § 4, 1841 Ala. Acts 148, 148–49.
112
    Act of Feb. 2, 1856, no. 26, § 1, 1856 Ala. Acts 17, 17.
113
    An Act to Amend the Criminal Law, No. 26, § 1, 1856 Ala. Acts 17.



                                           43
  Case 1:24-cv-00496-JAO-WRP       Document 35-2     Filed 12/23/24   Page 46 of 77
                                    PageID.369


      deadly weapon, which is carried concealed, to any minor, or slave, or free
      negro, he shall be fined fifty dollars. 114

      72.    The fact that the Kentucky statute expressly mentioned a prohibition on

giving or loaning weapons to slaves or free persons of color is itself instructive. As

historian Randolph Roth’s work demonstrates, the Slave South was the most violent

region of the nation in the period before the Civil War. Although some laws enacted

in this period and in this region were driven by racial animus, other laws, including

laws targeting minors, were not. Laws prohibiting concealed carry were one type of

racially neutral modern style gun control regulation. Southern States also took the

lead in enacting acting gun-control-type measures, including laws aimed at

preventing minors from acquiring and using dangerous weapons. 115

      73.    Police power regulations were also adopted by cities and towns to

regulate arms. In 1817, Columbia, South Carolina enacted a law that allowed for the

seizure of weapons used by minors within the city limits. 116 And in 1857, the city of


114
    1859 Ky. Acts 245, An Act to Amend An Act Entitled “An Act to Reduce to One
the Several Acts in Relation to the Town of Harrodsburg, § 23.
115
    Eric M. Ruben & Saul Cornell, Firearm Regionalism and Public Carry:
Placing Southern Antebellum Case Law in Context, 125 YALE L.J.F.121 (2015).
On southern homicide rates, see Randolph Roth, AMERICAN HOMICIDE180-249
(2009).
116
    An Ordinance for Prohibiting the Firing of Guns in the Town of Columbia
(1817), Ordinances, of the Town of Columbia, (S. C.) Passed Since the
Incorporation of Said Town: To Which are Prefixed, the Acts of the General
Assembly, for Incorporating the Said Town, and Others in Relation Thereto 61-61
(1823); Ordinances of the City of New York, To Prevent the Firing of guns in the
                                                                    (continued…)


                                         44
 Case 1:24-cv-00496-JAO-WRP        Document 35-2     Filed 12/23/24   Page 47 of 77
                                    PageID.370


Louisville, Kentucky passed an ordinance stating that “[n]o person shall retail

gunpowder to minors” but included an exception for those who had “authority from

his parent or guardian.” 117

      74.    Post-Civil War America carried forward this antebellum tradition of

robust regulation of firearms. Many of the new constitutions adopted after the Civil

War in Southern states and newly admitted Western states expressly asserted that

the right to keep and bear arms did not preclude robust legislative power to regulate,

making explicit a point that the pre-Civil War case law had firmly established. 118

The Utah constitutional convention debated a proposal to change the age at which

individuals could be compelled to participate in the militia from eighteen to twenty-

one. Although there was some disagreement over the wisdom of changing the policy,

there was little disagreement that if such a policy was desirable, the state had ample

authority to make the change. The contours of this debate make clear that there was



City of New York, § 1, Edward Livingston, LAWS AND ORDINANCES, ORDAINED
AND ESTABLISHED BY THE MAYOR, ALDERMEN AND COMMONALTY OF THE CITY OF
NEW-YORK, IN COMMON-COUNCIL CONVENED, FOR THE GOOD RULE AND
GOVERNMENT OF THE INHABITANTS AND RESIDENTS OF THE SAID CITY 83–84
(1803). DIGEST OF THE CHARTER AND ORDINANCES OF THE CITY OF MEMPHIS 50
(1857).
117
    No. 68. An Ordinance as to Retailing Gun Powder, in Oliver H. Strattan, A
COLLECTION OF THE STATE AND MUNICIPAL LAWS, IN FORCE, AND APPLICABLE TO
THE CITY OF LOUISVILLE, KY 175 (1857).]
118
    Cornell, Right to Regulate, 68–70, 78 (2021) (discussing the rising level of gun
violence in the Reconstruction Era and the bevy of new laws, including laws aimed
at limiting the access of weapons to minors, passed by legislators in response).



                                         45
  Case 1:24-cv-00496-JAO-WRP        Document 35-2        Filed 12/23/24   Page 48 of 77
                                     PageID.371


no constitutional necessity compelling states to either require or prohibit minors

from participating in the militia. The decision remained one that was dictated by

military necessity, not constitutional imperative. 119

      75.    The broad latitude to regulate arms was acknowledged by the major

constitutional commentators of the Reconstruction era as well. John Norton

Pomeroy, one of the era’s most distinguished constitutional authorities, observed

that the right to keep and bear arms posed no barrier to government authority to

regulate or limit persons from “carrying dangerous or concealed weapons.” 120

      76.    The Republicans who wrote the Fourteenth Amendment championed

an expanded police power to effectuate their vision of a well-regulated society. 121

The robust regulation of firearms during Reconstruction, including regulations on

sale or access to firearms for those under the age of majority, was not a novel

application of the police power, but simply an example of the flexibility inherent in

this legal concept. Exercises of the police power were seen as consistent with the


119
    Official Report of the Debates and Proceedings of the Convention Assembled at
Salt Lake City ... (1898) at 815-819.
120
    JOHN NORTON POMEROY, AN INTRODUCTION TO THE CONSTITUTIONAL LAW OF
THE UNITED STATES: ESPECIALLY DESIGNED FOR STUDENTS, GENERAL AND
PROFESSIONAL 152–53 (1868); LEWIS HOCHHEIMER, THE LAW RELATING TO THE
CUSTODY OF INFANTS, 3 d., (1899) at 4.
121
    For a more detailed discussion, see Laura F. Edwards The Reconstruction of
Rights: The Fourteenth Amendment and Popular Conceptions of Governance 41 J.
OF SUP. CT. HIST. 310 (2016). For a discussion of how the courts wrestled with the
meaning of the Amendment, see WILLIAM E. NELSON, THE FOURTEENTH
AMENDMENT: FROM POLITICAL PRINCIPLE TO JUDICIAL DOCTRINE (1998).



                                           46
  Case 1:24-cv-00496-JAO-WRP        Document 35-2     Filed 12/23/24    Page 49 of 77
                                     PageID.372


scope of the Second Amendment’s reach as it had been understood at the Founding

and as it was understood at the time.

      77.    The author of Section One of the Fourteenth Amendment, John

Bingham, expressly affirmed the states’ ability to promote public safety and welfare

during the public campaign to ratify the amendment, assuring Ohioans in Cincinnati

that the states would continue to be responsible for all issues of “local administration

and personal security.” 122 As long as laws were racially neutral and favored no

person over any other, the states were free to enact whatever reasonable measures

were necessary to promote public safety and promote the common good. 123

      78.    Post-Civil War legal authorities recognized that improvements in gun

technology and changes in society posed new challenges to government’s efforts to

preserve the peace. In particular, the proliferation of small pistols, some expressly

marketed to young people, prompted a backlash as legislators responded to

increasing levels of gun violence among minors. 124 The rising levels of gun violence,

including accidents, in the post–Civil War era drew notice by jurists, journalists, and



122
    John Bingham, Speech, CINCINNATI DAILY GAZETTE (Sept. 2, 1867) as quoted in
Saul Cornell and Justin Florence, The Right to Bear Arms in the Era of the
Fourteenth Amendment: Gun Rights or Gun Regulation, 50 SANTA CLARA L. REV.
1043. 1058 (2010).
123
    Michael Les Benedict, Preserving Federalism: Reconstruction and the Waite
Court, 1978 SUP. CT. REV. 39, 40-41, 47 (1978).
       124 For good illustration of this concern in regards to minors, see J.N. Hall,
Accidents with Firearms, 23 OUTING, Oct. 1893–Mar. 1894, at 89, 89–90.



                                          47
 Case 1:24-cv-00496-JAO-WRP         Document 35-2     Filed 12/23/24    Page 50 of 77
                                     PageID.373


physicians. 125 Indeed, one prominent medical expert noted that an entire class of

firearms injuries were specific to boys whose behavior with guns was reckless and

whose access to smaller firearms made injuries more likely. 126 The development of

smaller weapons specifically targeted at minors exacerbated a problem that had

emerged in the antebellum era, prompting widespread calls for more regulation. 127

Although the problems society faced were new, the legal tools used by governments

to legislate were not. As had been true during the antebellum era, states and localities

turned to their ample police powers to justify new laws and regulations.

      79.    The general expansion of firearms regulation during Reconstruction

included a spate of new laws governing minors and guns. 128 Individual states and



       125. For an examination of the proliferation of journalistic accounts of gun
violence in the post–Civil War era, see Jennifer Carlson & Jessica Cobb, From
Play to Peril: A Historical Examination of Media Coverage of Accidental
Shootings Involving Children, 98 SOC. SCI. Q. 397, 403–04 (2017).
       126. J.N. Hall, Accidental Gun Shot Wounds: A Medico-Legal Study, 50
MED. REC., July 4, 1896–Dec. 26, 1896, at 408, 411 (“Perhaps the most prolific
cause of accidental shootings is to be found in the habit of pointing a weapon at
another in fun, under the impression that it is not loaded. . . . Children learn to
shoot toy pistols and are permitted to fire them at one another with impunity. Then,
obtaining a revolver in some manner, they use it in similar fashion. . . . Sheer
foolhardiness is responsible for an enormous number of accidents.”).
       127. See Firearms, IOWA STATE BD. OF HEALTH, MONTHLY BULLETIN, June
1891, at 75, 75—76 (noting that, in reference to revolvers especially, “[t]he
practice of carrying concealed weapons seems on the increase, and is indulged in
too often by mere boys and generally without the slightest excuse,” and calling for
“vigorous enforcement of the law prohibiting the carrying of firearms . . .
especially the law prohibiting the sale of firearms to children”).
128
    Cornell and Florence, Supra note 122.



                                          48
  Case 1:24-cv-00496-JAO-WRP          Document 35-2   Filed 12/23/24    Page 51 of 77
                                       PageID.374


localities responded to the proliferation of weapons among unsupervised minors by

adopting a range of age-specific limits on the purchase and use of firearms by those

under the age of legal majority (which remained twenty-one during this period).129

The provision adopted by the city of Fresno, California just before the turn of the

century is illustrative of these laws: “No junk-shop keeper or pawnbroker shall hire,

loan or deliver to any minor under the age of eighteen years any gun, pistol or other

firearm, dirk, bowie-knife, powder, shot, bullets or any weapon.” 130 Some of these

laws targeted children younger than sixteen, but others singled out anyone below the

age of twenty-one. For example, Indiana’s state law cast a broad net, prohibiting

“The Sale, Gift or Bartering of Deadly Weapons or Ammunition to Minors”:

      Be it enacted by the General Assembly of the State of Indiana, That it
      shall be unlawful for any person to under the age of twenty-one years,
      any pistol, dirk, or bowie-knife, slung-shot, knucks, or other deadly
      weapon that can be worn, or carried, concealed upon or about the
      person, or to sell, barter, or give to any person, under the age of twenty-
      one years, any cartridges manufactured and designed for use in a pistol.
      § 2. Be it further enacted, that any person who shall violate any of the
      provisions of the foregoing section shall be deemed guilty of a
      misdemeanor, and upon conviction thereof, shall be fined in any sum
      not less than five dollars, nor more than fifty dollars.131

      80.    Wisconsin adopted a statute that prohibited minors from going armed

or acquiring pistols and revolvers:


129
    Carlson and Cobb, From Play to Peril, supra note 125.
130
    Misdemeanors. Section 53., in L. W. MOULTRIE, CHARTER AND ORDINANCES OF
THE CITY OF FRESNO 37 (1896).
131
    Act of Feb. 27, 1875, ch. 40, 1975 Ind. Acts 59.



                                           49
  Case 1:24-cv-00496-JAO-WRP             Document 35-2      Filed 12/23/24   Page 52 of 77
                                          PageID.375


               SECTION 1: It shall be unlawful for any minor, within this state,
               to go armed with any pistol or revolver, and it shall be the duty of
               all sheriffs, constables, or other public police officers, to take
               from any minor, any pistol or revolver, found in his possession.


               SECTION 2: It shall be unlawful for any dealer in pistols or
               revolvers, or any other person, to sell, loan, or give any pistol or
               revolver to any minor in this state. 132

         81.      An 1883 Missouri statute that banned weapons in places where young

people might gather, such as schools, places of worship, and other venues in which

people gathered for “education, literary, or social purposes.” In addition, the law also

expressly prohibited loaning, giving, or selling any “deadly weapon” to a minor.

               If any person shall carry concealed, upon or about his person, any
               deadly or dangerous weapon, or shall go into any church or place
               where people have assembled for religious worship, or into any
               school room or place where people are assembled for education,
               literary or social purposes, or to any election precinct on any
               election day, or into any court room during the sitting of court, or
               into any other public assemblage of persons met for any unlawful
               purpose other than for militia drill or meetings called under the
               militia law of this state, having upon or about his person any kind
               of fire arms, bowie knife, dirk, dagger, slung-shot, or other deadly
               weapon, or shall in the presence of one or more persons exhibit any
               such weapon in a rude, angry or threatening manner, or shall have
               or carry any such weapon upon or about his person when
               intoxicated or under the influence of intoxicating drinks, or shall
               directly or indirectly sell or deliver, loan or barter to any minor any
               such weapon, without the consent of the parent or guardian of such
               minor, he shall, upon conviction, be punished by a fine of not less
               than twenty-five nor more than two hundred dollars, or by
               imprisonment in the county jail not exceeding six months, or by


132
      1883 Wis. Sess. Laws 290.



                                               50
  Case 1:24-cv-00496-JAO-WRP         Document 35-2     Filed 12/23/24   Page 53 of 77
                                      PageID.376


            both such fine and imprisonment. 133

      82.      A Kansas statute prohibited selling, trading, giving, loaning pistols or

revolvers to minors:

            Any person who shall sell, trade, give, loan or otherwise furnish any
            pistol, revolver or toy pistol, by which cartridges or caps may be
            exploded, or any dirk, bowie-knife, brass knuckles, slung shot, or
            other dangerous weapons to any minor, or to any person of
            notoriously unsound mind, shall be deemed guilty of a
            misdemeanor, and shall, upon conviction before any court of
            competent jurisdiction, be fined not less than five nor more than one
            hundred dollars. 134

      83.      The language of a Louisiana law was even more comprehensive:

            “That, hereafter, it shall be unlawful, for any person to sell, or
            lease or give through himself or any other person, any pistol, dirk,
            bowie-knife any person under the age of twenty-one years. 135

      84.      A Nevada law focused on the danger posed by minors carrying guns in

public:

      Every person under the age of twenty-one (21) years who shall wear
      or carry any dirk, pistol, sword in case, slung shot, or other dangerous
      or deadly weapon concealed upon his person, shall be deemed guilty
      of a misdemeanor, and shall, upon conviction thereof, be fined not less
      than twenty nor more than two hundred ($200) dollars, or by
      imprisonment in the county jail not less than thirty days nor more than
      six months, or by both such fine and imprisonment. 136
133
    1883 Mo. Laws 76, An Act To Amend Section 1274, Article 2, Chapter 24 Of
The Revised Statutes Of Missouri, Entitled “Of Crimes And Criminal Procedure,”
§ 1.
134
    1883 Kan. Sess. Laws 159, § 1.
135
    1890 La. Acts 39, § 1; 1882 Md. Laws 656, § 2.
136
    1885 Nev. Stat. 51, § 1 (approved March 4, 1881, THE GENERAL
STATUTES OF THE STATE OF NEVADA. IN FORCE. FROM 1861 TO 1885,
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                                           51
 Case 1:24-cv-00496-JAO-WRP        Document 35-2     Filed 12/23/24   Page 54 of 77
                                    PageID.377



       85.   The expansion of laws dealing with the problem of minors and guns in

the Reconstruction era was a response to a novel problem that the Founding

generation did not face. The constitutional justification for these laws, state police

power, was well established under antebellum law and proved to be flexible enough

to accommodate a range of pragmatic solutions.

                                 CONCLUSIONS

       86.   A review of the historical record, in context, reveals that “infants”—

individuals below the legal age of majority, which has been 21 for the most of

American history—have never had an unfettered constitutional right to keep, bear,

and acquire arms. This was true in the era of the Second Amendment’s adoption and

has continued to be true in subsequent periods of American history, including the

era of the Fourteenth Amendment. For most of the pre-Civil War period in American

history, minors only had legal access to arms when under the patriarchal authority

of a head of household, when assisting sheriffs, justices of the peace or constables

to preserve the peace, or when performing militia duties and supervised by militia

officers.

      87.    Those under the age of 21 never enjoyed an autonomous individual

right to purchase, acquire, own, or use firearms for most of American legal history.

In fact, for most of American history, the law did not consider such minors as fully

autonomous legal individuals in any meaningful sense. The legal status of infants



                                         52
 Case 1:24-cv-00496-JAO-WRP        Document 35-2      Filed 12/23/24    Page 55 of 77
                                    PageID.378


under American law in the Founding era was an inheritance from English common

law. This bedrock principle of Anglo-American law was unaltered by the American

Revolution, the adoption of the Constitution, or the addition of amendments,

including the Second Amendment and the Fourteenth Amendment. Thus, asserting

a constitutional right of those under 21 to keep, bear, and acquire arms rests on a

serious misunderstanding of a core principle of Anglo-American law regarding the

status of those below the age of legal majority. In fact, the concept of “young adult”

is a recent development in American culture and has no grounding in earlier Anglo-

American law—and thus it has no bearing on assessing the scope of the Second

Amendment right as it was originally understood at the time of its ratification and in

the ensuing years.

      88.    The central fact asserted by Plaintiffs in this case is uncontroversial: in

the Founding era and for much of American history, governments compelled some

minors under 21 to serve in the militia and participate in related community-based

forms of law enforcement. But the existence of such duties does not provide any

concomitant evidence of the existence of a constitutional right to keep, bear, or

acquire firearms for those under the age of 21. Rather, it demonstrates that

governments have imposed a constitutional duty and obligation upon generations of

Americans, including some minors, to contribute to public defense.




                                          53
 Case 1:24-cv-00496-JAO-WRP        Document 35-2      Filed 12/23/24   Page 56 of 77
                                    PageID.379


      89.    Failure to meet this legal obligation could result in a variety of

punishments. In several states, the law expressly punished parents or guardians if

they failed to acquire the necessary arms required by law to allow their minor

children to participate in the militia. In those states in which such a provision was

not included in law, the common law would have governed, and legal proceedings

against insufficiently armed minors would have targeted parents or guardians.

      90.     Plaintiffs confuse rights with obligations, and conflate the specific

public policy choices made by states and the federal government with non-existent

fixed constitutional principle mandating the participation of minors in the American

military. In fact, state and local governments were free to expand or contract the age

restrictions on participation in the militia in response to the needs of public defense

and safety. When it proved advantageous to include males below 21 in the militia,

governments adopted regulations to achieve that policy goal. If public defense or

other policy goals were better served by excluding this portion of the population

from militia service, legislatures enacted laws to implement that policy objective.

      91.    Plaintiffs also err by ignoring the fact that minors could not make

binding legal contracts. This legal disability meant that procuring firearms without

the assistance of an adult would have been nearly impossible for most of American

history.




                                          54
 Case 1:24-cv-00496-JAO-WRP         Document 35-2     Filed 12/23/24    Page 57 of 77
                                     PageID.380


      92.    The regulation of gun powder and firearms has always been understood

to be a core feature of the state’s considerable police powers and the scope of this

power is greatest when protecting the health and safety of minors. Given these two

facts, it is not surprising that there is a long history of state regulations targeting

minors and guns.

      93.    The expansion of laws regulating minors during Reconstruction was a

direct result of changes in firearms technology and the marketing strategy used to

sell guns. Changes in society also made the problem of guns and minors more

serious. States and localities responded to these developments by enacting a range

of new laws regulating and in some cases prohibiting minors from acquiring guns

without adult supervision. Although the legal justification for these laws carried

forward antebellum police power jurisprudence, the methods used to address these

unprecedented problems produced by changes in gun culture and society were

uncontroversial. Thus, firearms regulation, including limits on the ability of minors

under 21 to access and use arms, clearly falls within long-standing American

historical and legal traditions. In short, Plaintiffs’ contention that individuals under

the age of 21 have always enjoyed a robust Second Amendment right to purchase,

receive, and transfer firearms has no foundation in history, text, or tradition.




                                          55
Case 1:24-cv-00496-JAO-WRP      Document 35-2        Filed 12/23/24   Page 58 of 77
                                 PageID.381




        I declare under penalty of perjury under the laws of the United States of
   America that the foregoing is true and correct.


   Executed on ___________________,
                   12/20/24         at __________________.
                                         Redding, CT 06896




                             Saul Cornell
                             Saul Cornell




                                        56
Case 1:24-cv-00496-JAO-WRP   Document 35-2   Filed 12/23/24   Page 59 of 77
                              PageID.382




      EXHIBIT A
      Case 1:24-cv-00496-JAO-WRP          Document 35-2       Filed 12/23/24     Page 60 of 77
                                           PageID.383


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                                               Education
                                                              Dissertation: “The Political Thought
1989        University of Pennsylvania                Ph.D.   and Culture of the Anti-Federalists”
1985        University of Pennsylvania                 MA     History
1982        Amherst College                            BA     History - Magna Cum Laude
1980-81     University of Sussex, Brighton, England

                                      Teaching Experience
2009-2024          Guenther Chair in American History         Fordham University
2011-2022          Adjunct Professor of Law                   Fordham Law School
2005-2008          Professor of History                       The Ohio State University
1997-2005          Associate Professor, History               The Ohio State University
1995               Thomas Jefferson Chair                     University of Leiden, The Netherlands
1991-1997          Assistant Professor, History               The Ohio State University
1989-1991          Assistant Professor, History               College of William and Mary

                                    Fellowships and Grants
  •    (2024) Senior Visting Research Scholar, Solomon Center, Yale Law School
  •    2019-2020 The Gilder Lehrman Center for the Study of Slavery, Resistance, and Abolition, Yale
       University
  •    2018-2019 Senior Research Scholar in Residence, Floersheimer Center for Constitutional
       Democracy, Cardozo Law School
  •    2014 Senior Research Scholar in Residence, University of Connecticut Law School
  •    2011 Senior Research Scholar in Residence, Yale Law School
  •    2003-2008 Joyce Foundation, Second Amendment Center Grant, $575,000
  •    2003-2004 NEH Fellowship
  •    2002-2005 Department of Education, Teaching American History Grant, Historyworks,
       $2,000,000
  •    2002 Gilder-Lehrman Fellowship
  •    2001-2002 Joyce Foundation Planning Grant, $40,000
  •    2001 American Council of Learned Societies (ACLS)
  •    1999-2000 Betha Grant, Batelle Memorial Endowment, Ohio Teaching Institute, $100,000
  •    1998 Thomas Jefferson Memorial Foundation, Research Fellowship
  •    1995 Thomas Jefferson Chair in American Studies, Fulbright Lecturing Award
  •    1994 Ohio State University Seed Grant
  •    1993 Ohio State University Special Research Assignment

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       Case 1:24-cv-00496-JAO-WRP          Document 35-2       Filed 12/23/24     Page 61 of 77
                                            PageID.384


   •    1992 Ohio State University Grant-In-Aid
   •    1989-1991 NEH Post-Doctoral Fellow, Institute of Early American History and Culture
                                        Prizes and Awards
   •    2006 Langum Prize in Legal History 2006
        2006 Pulitzer Nomination, History
   •    2006 History News Network, Book of the Month
   •    2006 History News Network, Top Young Historian
   •    2001 Society of the Cincinnati, History Book Prize, a Triennial Award for the Best Book on the
        American Revolutionary Era
   •    2000 Choice Outstanding Academic Book
   •    2000 Pulitzer Nomination History

                                         Book Publications

The Partisan Republic: Democracy, Exclusion, and the Fall of the Founders Constitution
New Histories of American Law, series eds., Michael Grossberg and Christopher Tomlins (Cambridge
 University Press, 2019) [With Gerald Leonard]
The Second Amendment On Trial: Critical Essays on District of Columbia v. Heller
(University of Massachusetts Press, 2013) [with Nathan Kozuskanich]
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 (First edition, 2009),( second edition 2013) (third edition, 2016)
“A Well Regulated Militia”: The Founding Fathers and the Origins of Gun Control (Oxford University
 Press, 2006) (paperback edition 2008)
Whose Right to Bear Arms Did the Second Amendment Protect? (Bedford/St. Martins Press, 2000)
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 Early American History and Culture, University of North Carolina Press, 1999) (paperback edition
 2001)
Editor, Retrieving the American Past: Documents and Essays on American History, (Pearson, 1994-
 2008)
                           Scholarly Articles, Book Chapters, and Essays:

“Age Restrictions and the Right to Keep and Bear Arms, 1791–1868,” Minnesota Law Review (2024)
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                                                                                     4|Saul Cornell
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  Constitutional History,” in American Law Ways and Folkways (Odense University Press, Denmark
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       Case 1:24-cv-00496-JAO-WRP            Document 35-2       Filed 12/23/24   Page 65 of 77
                                              PageID.388


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   •    American Studies Journal of the Early Republic
   •    Pennsylvania Magazine of History and Biography
   •    American Quarterly
   •    American Journal of Legal History
   •    Law and History Review


                                        Journal Manuscript Referee:
   •    Journal of American History
   •    William and Mary Quarterly
   •    Diplomatic History
   •    Pennsylvania Magazine of History and Biography
   •    Law and History Review
   •    Harvard Law Review
   •    Stanford Law Review
   •    Yale Law Journal

                                         Book Manuscript Reviewer:
   •    University Press of Virginia
   •    University of North Carolina Press
   •    Stanford University Press
   •    University of Massachusetts Press
   •    Oxford University Press
   •    Cambridge University Press
   •    University of Michigan Press
   •    Harvard University Press

                                             Invited Lectures:

“Early American Firearms Regulation: A Guide for the Perplexed,” Fall 2024 Conference “Historical
and Contemporary Perspectives on Guns and Society” CSGS Fall , 2024

“Historian Roundtable Discussion,” Duke University School of Law, Durham, NC (Co-sponsored with
the Center for the Study of Guns and Society (CSGS) at Wesleyan University) Summer 2024

“Learning to Read like an Eighteenth-Century Lawyer: The Historical Critique of Originalism
Revisited,” W&M Bill of Rights Journal Symposium on Memory and Authority, Spring 2024

“Originalism, the Supreme Court, the Texas Rahimi Decision,” Spring 2023 Lessons from History on
Domestic Violence, Firearms, and the Law, (CSGS) Spring 2023



                                                                                  6|Saul Cornell
     Case 1:24-cv-00496-JAO-WRP            Document 35-2       Filed 12/23/24     Page 66 of 77
                                            PageID.389


“Constitutional Mischiefs and Constitutional Remedies: Making Sense of Limits on the Right to Keep
and Bear Arms in the Founding Era,” Public Health History and the Future of Gun Regulation
after Bruen, Fall 2023 Fordham Urban Law Journal

“Race, Regulation, and Guns: The Battleground in the Debate Over the Second Amendment,”
Haber/Edelman Lecture: University of Vermont, Fall 2021

“Second Amendment Myths and Realities,” University of Tampa, Honors College Symposium,
  November 30, 2018.
“The Common Law and Gun Regulation: Neglected Aspects of the Second Amendment Debate,” Guns
  in Law, Amherst College, Law Justice and Society (2016)
“The New Movement to End Gun Violence.” UCLA Hammer Museum (2016)
“No Person May Go Armed”: A Forgotten Chapter in the History of Gun Regulation” The Elizabeth
 Battelle Clark Legal History Series, Boston University College of Law, 2016
Legacy Speaker Series: “Guns in the United States,” University of Connecticut (2016) “How does the
 Second Amendment Apply to Today?”
American Constitution Society/ Federalist Society Debate, Tulane Law School, New Orleans (2016)
“The Second Amendment and The Future of Gun Regulation: Forgotten Lessons From U.S. History,”
  Constitution Day Lecture, Goucher College, (2015)
Keynote Lecture: “The Second Amendment and American Cultural Anxieties: From Standing Armies to
 the Zombie Apocalypse” Firearms and Freedom: The Relevance of the Second Amendment in the
 Twenty First Century, Eccles Center, British Library (Spring 2015)
“Narratives of Fear and Narratives of Freedom: A Short Cultural History of the Second Amendment,”
 Comparing Civil Gun Cultures: Do Emotions Make a Difference? Max Plank Institute, Berlin (2014)
“History and Mythology in the Second Amendment Debate,” Kollman Memorial Lecture, Cornell
 College, Iowa (Spring, 2013)
“Will the Real Founding Fathers Please Stand Up or Why are so few Historians Originalists”
 Constitution Day Lecture, Lehman College, Fall 2011
“Lawyers, Guns, and Historians: The Second Amendment Goes to Court,” SHEAR/HSP Public Lecture,
  Philadelphia, July, 2008
The Robert H. and Alma J. Wade Endowment Lecture, Kentucky Wesleyan University, “The Early
 American Origins of Gun Control” (2006)
“Jefferson, Mason, and Beccaria: Three Visions of the Right to Bear Arms in the Founding Era,” Bill of
  Rights Lecture, Gunston Hall Plantation, Fairfax, VA (2003)
“A New Paradigm for the Second Amendment,” Finlay Memorial Lecture, George Mason University,
 (2001)
“Academic Gunsmoke: The Use and Abuse of History in the Second Amendment Debate,” Cadenhead
 Memorial Lecture, University of Tulsa, (2000)



                                                                                   7|Saul Cornell
     Case 1:24-cv-00496-JAO-WRP           Document 35-2       Filed 12/23/24     Page 67 of 77
                                           PageID.390


“Why the Losers Won: The Rediscovery of Anti-Federalism in the Reagan Years,” Thomas Jefferson
 Inaugural Lecture, University of Leiden, Netherlands, (1995)

                                           Presentations:

Round table” “ Race and the Disparate Impact of Gun Law Enforcement, Historically and Today,”
Aiming for Answers: Balancing Rights, Safety, and Justice in a Post-Bruen America, Minnesota Law
Review 2023 Symposium October 2023

“Rights, Regulation, and the Original Meaning of the Police Power: Constitutional Anachronisms in
Contemporary Second Amendment Jurisprudence,” “Landmark Judgments,” Faculty of Law University
of Bologna, Italy September 2023.

“Guns Everywhere: Individual Rights and Communal Harms after NYSRPA v. Bruen,” UCLA Criminal
Law Journal, Roundtable: “The History of the Second Amendment: How We Got to Bruen–and Where
We Go from Here October” 2022

“From Ideology to Empiricism: Second Amendment Scholarship After Heller, “ Hastings Constitutional
  Law Quarterly Symposium, Heller at Ten, January 18, 2019
“Firearms and the Common Law Tradition,” Aspen Institute, Washington, DC (2016)
“The Original Debate over Original Meaning Revisited, ” British Group in EarlyAmerican History,
  Annual Meeting, Cambridge, England (2016)
“Second Amendment Historicism and Philosophy” The Second Generation of Second Amendment
  Scholarship” Brennan Center, NYU 2016
“The Reception of the Statute of Northampton in Early America: Regionalism and the Evolution of
  Common Law Constitutionalism” OIEAHC and the USC/Huntington Library Early Modern Studies
  Institute May 29–30, 2015
“The Right to Travel Armed in Early America: From English Restrictions to Southern Rights,” British
  Group in Early American History, Annual Conference Edinburgh, Scotland (2014)
“Progressives, Originalists, and Pragmatists: The New Constitutional Historicism and the Enduring
  Legacy of Charles Beard,” Charles Beard, Economic Interpretation and History, Rothmere Center,
  Oxford University (2012)
CUNY Early American Seminar, “The People’s Constitution v. the Lawyer’s Constitution,” 2011
Roundtable : “The Work of J.R. Pole,” SHEAR , Philadelphia, Pennsylvania 2011)
“The Right to Bear Arms in the Era of the Fourteenth Amendment: Gun Rights or Gun Regulation?”
  Bearing Arms, Policy, Policing, and Incorporation After Heller, Santa Clara Law School (2010)
“Re-envisioning Early American History,” American Historical Association Annual Meeting, San Diego
  (2010)
“The Ironic Second Amendment” Firearms, the Militia, and Safe Cities: Merging History, Constitutional
  Law and Public Policy, Albany Law School ( 2007)


                                                                                  8|Saul Cornell
     Case 1:24-cv-00496-JAO-WRP            Document 35-2       Filed 12/23/24     Page 68 of 77
                                            PageID.391


“District of Columbia v. Heller and the Problem of Originalism,” University of Pennsylvania
  Constitutional Law Workshop, Philadelphia ( 2007)
“Progressives and the Gun Control Debate,” American Constitution Society, Harvard Law School,
  (2006)
“The Problem of Popular Constitutionalism in Early American Constitutional Theory,” American
  Association of Law Schools, Annual Conference (2006)
“Popular Constitutionalism and the Whiskey Rebellion,” Symposium on Larry Kramer’s The People
  Themselves, Chicago-Kent Law School (2005)
Roundtable Discussion on the Second Amendment and Gun Regulation, NRA/ GMU Student’s For the
  Second Amendment Symposium (2005)
“The Early American Origins of the Modern Gun Control Debate: The Right to Bear Arms, Firearms
  Regulation, and the Lessons of History,” Gun Control: Old Problems, New Problems, Joint
  Conference Sponsored by the John Glenn Institute and Stanford Law School (2005)
“Original Rules for Originalists?” University of Minnesota Law School (2005)
“The Fourteenth Amendment and the Origins of the Modern Gun Debate,” UCLA, Legal History
  Workshop (2004)
“Beyond Consensus, Beyond Embarrassment: The Use and Abuse of History in the Second Amendment
  Debate,” American Society of Legal History, Austin, TX (2004)
“Armed in the Holy Cause of Liberty: Guns and the American Constitution,” NYU Legal History
  Colloquium (2004)
“Digital Searches and Early American History,” SHEAR Brown University (2004)
“Well Regulated: The Early American Origins of Gun Control,” The Second Amendment and the Future
  of Gun Regulation,” Joint Conference Sponsored by the John Glenn Institute and Fordham Law
  School, New York (2004)
“Minuteman, Mobs, and Murder: Forgotten Contexts of the Second Amendment,” Department of
  History, University of California Berkeley (2003)
“History vs. Originalism in the Second Amendment Debate,” Federalist Society/ American Constitution
  Society, George Washington University Law School, Washington D.C. (2003)
“Self-defense, Public Defense, and the Politics of Honor in the Early Republic,” Lake Champlain Early
  American Seminar, Montreal (2003)
“The Ironic Second Amendment” "Gun Control: Controversy, Social Values, and Policy,” University of
  Delaware Legal Studies Conference, Newark, Delaware (2003)
“Individuals, Militias, and the Right to Bear Arms: The Antebellum Debate Over Guns,” Institute for
   Legal Studies, University of Wisconsin School of Law (2004)
“Guns in the British Atlantic World: New Research, New Directions” Society for the Historians of the
  Early American Republic, Ohio State University (2003)
“Neither Individual nor Collective: A New Paradigm for the Second Amendment,” American Bar
  Foundation, Chicago (2003)

                                                                                   9|Saul Cornell
     Case 1:24-cv-00496-JAO-WRP             Document 35-2       Filed 12/23/24      Page 69 of 77
                                             PageID.392


“The Changing Meaning of the Armed Citizen in American History,” “Americanism Conference,”
  Georgetown University (2003)
“A New Paradigm for the Second Amendment?” Supreme Court Historical Society, Washington, D.C.
  (2002)
“Constitutional History as Cultural History: The Case of the Second Amendment” European American
  Studies Association, Bordeaux, France (2002)
“Don’t Know Much About History: The Current Crises in Second Amendment Scholarship,” Salmon P.
  Chase College of Law, Symposium, “The Second Amendment Today,” (2002)
“History, Public Policy, and the Cyber-Age: Gun Control Policy after the Emerson Decision,” Sanford
  Institute of Public Policy, Duke University (2002)
“Constitutional History After the New Cultural History: The Curious Case of the Second Amendment,”
  Society of the Historians of the Early American Republic, Baltimore (2001)
Roundtable Discussion, “The State of Second Amendment Scholarship,” American Historical
  Association (2001)
“Armed in the Holy Cause of Liberty: Critical Reflections on the Second Amendment Debate,”
  Vanderbilt University Law School (2001)
“Neither Individual nor Collective: A New Paradigm for the Second Amendment,” Boston University
  Law School, (2000)
“The Current State of Second Amendment Scholarship,” National Press Club Washington, D.C.
  American Bar Association, (2000)
“Taking the Hype out of Hyper-Text, Or What Should Textbook Companies Being Doing for us on the
  Web,” OAH St. Louis, Missouri (1999)
“The Ironies of Progressive Historiography: The Revival of Anti-Federalism in Contemporary
  Constitutional Theory,” European American Studies Association, Lisbon, Portugal (1998)
“Deconstructing the Canon of American Constitutional History” American Society of Legal History,
  Seattle, Washington (1998)
“Beyond Meta-narrative: The Promise of Hypertext,” American Studies Association, Seattle,
  Washington (1998)
“Text, Context, Hypertext,” American Historical Association, Washington D.C. (1998)
“Jefferson and Enlightenment,” International Center for Jefferson Studies, Charlottesville, VA, (1998)
“Copley’s Watson and the Shark: Interpreting Visual Texts with Multi-media Technology,” American
  Studies Association, Washington, D.C. (1997)
“Multi-Media and Post-Modernism,” H-Net Conference, Technology and the Future of History, East
  Lansing, Michigan (1997)
Comment on Jack Rakove’s Original Meanings, Society of the Historians of the Early Republic, State
  College, PA (1997)




                                                                                   10 | S a u l C o r n e l l
     Case 1:24-cv-00496-JAO-WRP             Document 35-2       Filed 12/23/24      Page 70 of 77
                                             PageID.393


“Teaching with Multi-Media Technology,” Indiana University, spring 1997 “Constitutional History from
  the Bottom Up: The Second Amendment as a Test Case,” McGill University, Montreal, Canada
  (1996)
“Just Because You Are Paranoid, Does Not Mean the Federalists Are Not Out to Get You: Freedom of
   the Press in Pennsylvania,” University of Pennsylvania (1995)
“Multi-Media and Post-Modernism: The Future of American Studies?” Lecture, Erasmus University,
  Rotterdam, Netherlands (1995)
“Post-Modern American History? Ratification as a Test Case,” St. Cross College, Oxford University,
  Oxford, England (1994)
“The Other Founders," NYU Legal History Seminar,” NYU Law School (1994)
“Reading the Rhetoric of Ratification,” paper presented at “Possible Pasts: Critical Encounters in Early
  America,” Philadelphia Center for Early American Studies, Philadelphia, PA (1994)
“American Historiography and Post-Modernism,” Organization of American Historians, Atlanta, GA
  (1994)
“The Anti-Federalist Origins of Jeffersonianism,” Columbia Seminar on Early American History (1994)
“American History in a Post-Modern Age?” American Historical Association, San Francisco, CA (1994)
“Post-Modern Constitutional History?” Indiana University School of Law, Bloomington, IN (1993)
Participant, Institute of Early American History and Culture, planning conference, "New Approaches to
  Early American History," Williamsburg, VA (1992)
“Mere Parchment Barriers? Federalists, Anti-Federalists and the Problem of Rights Consciousness,”
  American Studies Association, Baltimore, MD (1991)
“James Madison and the Bill of Rights: a comment on papers by Jack Rakove, Ralph Ketcham and Max
   Mintz,” Organization of American Historians and Center for the Study of the Presidency Conference,
   "America's Bill of Rights at 200 Years," Richmond, VA, (1991)
Symposium participant, “Algernon Sidney and John Locke: Brothers in Liberty?” Liberty Fund
  Conference, Houston, TX (1991)
“Mere Parchment Barriers? Antifederalists, the Bill of Rights and the Question of Rights
  Consciousness,” Capitol Historical Society, Washington, D.C. (1991)
“Anti-Federalism and the American Political Tradition,” Institute of Early American History and Culture
Symposium, Williamsburg, VA (1989)




                                                                                   11 | S a u l C o r n e l l
    Case 1:24-cv-00496-JAO-WRP        Document 35-2   Filed 12/23/24    Page 71 of 77
                                       PageID.394




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• Cherry-picked history and ideology-driven outcomes: Bruen’s originalist
  distortions,” SCOTUSblog (Jun. 27, 2022)
• “The Right Found a New Way to Not Talk About a School Shooting,” SLATE May 25, 2022
• “The Horror in New York Shows the Madness of the Supreme Court’s Looming Gun Decision,”
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• “Guns, Guns Everywhere: Last week’s subway Shooting was Horrifying. If the Supreme Court
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• “The Supreme Court’s Latest Gun Case Made a Mockery of Originalism” Slate November 10,
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• "‘Originalism’ Only Gives the Conservative Justices One Option On a Key Gun
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• “Neither British Nor Early American History Support the Nearly Unfettered Right to Carry
  Arms,” Slate November 02, 2021
• “Will the Supreme Court Create Universal Concealed Carry Based on Fantasy Originalism?”
  Slate November 1, 2021
• “Biden was Wrong About Cannons, but Right About the Second Amendment,” Slate June 29,
  2021
• “Barrett and Gorsuch Have to Choose Between Originalism and Expanding Gun Rights,” Slate
  April 29, 2021 Slate
• “What Today’s Second Amendment Gun Activists Forget: The Right Not to Bear Arms,”
  Washington Post, January 18, 2021
• “Could America’s Founders Have Imagined This?” The New Republic, December 20, 2019
• “Don’t Embrace Originalism to Defend Trump’s Impeachment” The New Republic, December 5,
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• “The Second-Amendment Case for Gun Control” The New Republic, August 4, 2019
• “The Lessons of a School Shooting—in 1853” Politico, March 24, 2018.
• “Originalism and the Second Amendment in District of Columbia v. Heller,” University of
  Chicago Law Review, Podcast, Briefly 1.9, Wed, 04/11/2018
• “Sandy Hook and the Original Meaning of the Second Amendment,” Time December, 2017
• “The State of the Second Amendment,” National Constitution Center, Podcast October, 2017
• “Gun Anarchy and the Unfree State: The Real History of the Second Amendment,” The Baffler
  On-line October 2017
• “Five Types of Gun Laws the Founding Fathers Loved” Salon October 22, 2017
• “Half Cocked,” Book Forum April 2016
• “Let’s Make an Honest Man of Ted Cruz. Here’s how we Resolve his “Birther” Dilemma with
  Integrity” Salon January 23, 2016
• “Guns Have Always Been Regulated,” The Atlantic Online December 17, 2015

                                                                       12 | S a u l C o r n e l l
    Case 1:24-cv-00496-JAO-WRP         Document 35-2       Filed 12/23/24    Page 72 of 77
                                        PageID.395


•    “The Slave-State Origins of Modern Gun Rights” The Atlantic Online 30, 2015 [with Eric
     Ruben]
•    PBS, “Need to Know: ‘Debating the Second Amendment: Roundtable’” April 26, 2013
•    “All Guns are not Created Equal” Jan 28, 2013 Chronicle of Higher Education [with Kevin
     Sweeney]
•    “What the ‘Right to Bear Arms’ Really Means” Salon January 15, 2011 “Elena Kagan and the
     Case for an Elitist Supreme Court,” Christian Science Monitor May 20, 2010
•    “Gun Points,” Slate, March 8, 2010 (With Justin Florence, and Matt Shors)
•    “What’s Happening to Gun Control,” To the Point, NPR. March 11, 2010
•    “Getting History Right,” National Law Journal, March 1, 2010
•    “History and the Second Amendment,” The Kojo Nnamdi Show , WAMU (NPR) March 17, 2008
•    “The Court and the Second Amendment,” On Point with Tom Ashbrook, WBUR (NPR) March
     17, 2008
•    “Aim for Sensible Improvements to Gun Regulations,” Detroit Free Press, April 29, 2007
•    “A Well Regulated Militia,” The Diane Rehm Show, WAMU (NPR) Broadcast on Book TV
     ( 2006)
•    “Taking a Bite out of the Second Amendment,” History News Network, January 30, 2005
•    “Gun Control,” Odyssey, Chicago NPR September 8, 2004
•    “Loaded Questions,” Washington Post Book World February 2, 2003
•    “The Right to Bear Arms,” Interview The Newshour, PBS May 8, 2002
•    “Real and Imagined,” New York Times, June 24, 1999


                               Other Professional Activities
•    Editorial Board, Constitutional Study, University of Wisconsin Press (2014-present)
•    Advisory Council, Society of Historians of the Early American Republic (SHEAR) (2007-2009)
•    Program Committee, Annual Conference, Society of the Historians of the Early American
     Republic, Philadelphia, PA 2008
•    Editorial Board, American Quarterly (2004-2007)
•    Director, Second Amendment Research Center, John Glenn Institute for Public Service and
     Public Policy, 2002- 2007
•    Fellow, Center for Law, Policy, and Social Science, Moritz College of Law, Ohio State
     University 2001- 2004
•    Local Arrangements Committee, Annual Conference, Society of the Historians of the Early
     American Republic, Columbus, OH 2003
•    Project Gutenberg Prize Committee, American Historical Association, 2004, 2002
•    Program Committee, Annual Conference, Society of the Historians of the Early Republic, 2001
•    Co-Founder Ohio Early American Studies Seminar
•    NEH Fellowship Evaluator, New Media Projects, Television Projects
•    Multi-media Consultant and Evaluator, National Endowment for the Humanities, Special,
     Projects, Division of Public Programs, Grants Review Committee (1999)


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                                                                             13 | S a u l C o r n e l l
     Case 1:24-cv-00496-JAO-WRP             Document 35-2        Filed 12/23/24      Page 73 of 77
                                             PageID.396



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2023 Slip Copy 2023 WL 1869095

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Reese v. Bureau of Alcohol Tobacco Firearms & Explosives, United States District Court, W.D.
                                                                                     14 | S a u l C o r n e l l
     Case 1:24-cv-00496-JAO-WRP              Document 35-2        Filed 12/23/24      Page 74 of 77
                                              PageID.397


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2021

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Kanter v. Barr, 919 F.3d 437, 446 n.6, 457, 462, 464 (7th Cir. 2019) (Barrett, J., dissenting).
Medina v. Whitaker, 913 F.3d 152, 159 (D.C. Cir.), cert. denied sub nom. Medina v. Barr, 140 S. Ct.
 645 (2019).
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                                                                                     15 | S a u l C o r n e l l
     Case 1:24-cv-00496-JAO-WRP             Document 35-2          Filed 12/23/24   Page 75 of 77
                                             PageID.398


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 343 n.23 (5th Cir. 2013) (Jones, J., dissenting).

Kachalsky v. Cty. of Westchester, 701 F.3d 81, 95 & n.21 (2d Cir. 2012).

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Nat'l Rifle Ass'n of Am., Inc. v. Bureau of Alcohol, Tobacco, Firearms, & Explosives, 700 F.3d 185,
 200, 202–03 (5th Cir. 2012).
United States v. Carpio-Leon, 701 F.3d 974, 980 (4th Cir. 2012).
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                                                                                    16 | S a u l C o r n e l l
     Case 1:24-cv-00496-JAO-WRP            Document 35-2            Filed 12/23/24   Page 76 of 77
                                            PageID.399


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 No. S23A0167 [Second Amendment and Campus Carry]

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 Amicus Brief, Young v. State of Hawaii N O . 12-17808 (9th Cir. 2020) [2nd Amendment]

 Amicus Brief, Gould v. Morgan, No. 17-2202 (1st Cir. 2018) [2nd Amendment]

 Amicus Brief, Flanagan vs. Becerra, Central District of California Case (2018) [2nd Amendment]

 Amicus Brief, Gill v. Whitford (US Supreme Court, 2017) [Partisan Gerrymandering]

 Amicus Brief, Woollard v Gallagher, (4th Cir. 2013) [Second Amendment]

 Amicus Brief Heller v. District of Columbia [Heller II] (US Court of Appeals for D.C.) (2010) [2nd
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 Amicus Brief, Silvera v. Lockyer, case on appeal( 9        Circuit 2003) [2nd Amendment]
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 Amicus Brief, Emerson v. U.S. case on appeal (5 Circuit 1999) [2nd Amendment]

 Pro-bono Historical Consultant State of Ohio, McIntyre v. Ohio, (U.S. Supreme Court, 1995) [1st
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                                                                                     17 | S a u l C o r n e l l
     Case 1:24-cv-00496-JAO-WRP          Document 35-2       Filed 12/23/24    Page 77 of 77
                                          PageID.400


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“A Symposium on Firearms, the Militia and Safe Cities: Merging History, Constitutional Law and
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”The 2nd Amendment at the Supreme Court: “700 Years of History” and the Modern Effects of Guns in
Public,” 55 U.C. Davis L. Rev. 2545 (2022).

       New Originalism:
“The New Originalism” 82 Fordham L. Rev. 721 (2013).
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                                                                               18 | S a u l C o r n e l l
